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USER: MT                       Medication Administration Summary

Patient                                      Resp:msible Doctor LITTMAN.MARIO, MD
Account Nwaber FA1307223089      Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M              Roca       411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


LORA2VIA13 - LORazepam 2 MG/ML 1 ML VIAL

  Dose        2 MG    (1 ML)
  Dose Instruction      CIWA PROTOCOL - FOR SPAV/SICU ONLY
                        **Notify ICU Resident/Intensivist if more than 2
                        consecutive qlh doses are given.
                        **Notify ICU Resident/Intensivist for any CIWA score > 40
                        (medicate first)
  Adlllin Route IV
  Frequency     QlH (PRN) PAR= PRN REASON: CIWA20 - CIWA score OVER 20
  Start Date 10/16/16-1100          Stop Date None             DC Date 10/19/16-1033
  Ordering Doctor       ZHANG,HONGYU MD
  Total Dispensed       15          Total Costs $8.40           Total Charges $71.25
  Rx Number     001883696



  History
   10/16/16 1109 - POM ORDER                      by COZHANGH
   10/16/16 1121 - EDIT                           by FIJASINT
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/16/16 1121 - VERIFIED                       by FIJASINT
   10/16/16 1204 - DEBIT                          by HBEURKET
        ITEMS: 1     DOSES: 1
   10/16/16 1829 - DEBIT                          by HBEURKET
        ITEMS: 1     DOSES: 1
   10/16/16 1948 - DEBIT                          by NREVAK
        ITEMS: 1     DOSES: 1
   10/16/16 2213 - DEBIT                          by NREVAK
        ITEMS: 1     DOSES: 1
   10/17/16 0013 - DEBIT                          by NREVAK
        ITEMS: 1     DOSES: 1
   10/17/16 0304 - DEBIT                          by NREVAK
        ITEMS: 1     DOSES: 1
   10/17/16 0629 - DEBIT                          by NREVAK
        ITEMS: 1     DOSES: 1
   10/17/16 0808 - DEBIT                          by DMCCARTH
        ITEMS: 1     DOSES: 1
   10/17/16 0904 - DEBIT                          by DMCCARTH
        ITEMS: 1     DOSES: 1
   10/17/16 1003 - DEBIT                          by DMCCARTH
        ITEMS: 1     DOSES: 1
   10/17/16 2108 - DEBIT                          by AROSSINO
        ITEMS: 1     DOSES: 1
   10/18/16 0013 - DEBIT                          by AROSSINO
        ITEMS: 1     DOSES: 1
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USER: MT                           Medication Administration Summary

Patient                                            Res1XJnsible Doctor LITTMAN,MARIO, MD
Account HUlllber FA1307223089          Location   FI4PVA              Unit Hum.her    F001250247
Age/Sex          37/M                  RCXJa      411                 Registered Date 10/07/16
Status           DIS IN                Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                           (Continued)

   10/18/16 0512 -    DEBIT                             by AROSSINO
        ITEMS: 1        DOSES: 1
   10/19/16 0002 -    DEBIT                             by NIFFRIG
        ITEMS: 1        DOSES: 1
   10/19/16 0443 -    DEBIT                             by AROSSINO
        ITEMS: 1        DOSES: 1
   10/19/16 1034 -    DISCONTINUE                       by COBORIKM     Eff: 10/19/16 1033
      EDIT DOCTOR:    BORIKAR,MADHURA S MD
      EDIT SOURCE:    Provider Source

Acba.in Date   Ti11.e User        Given Bag Reason Code               Iten.s          Cha;r;:g:e
10/16/16       1220 FIBEURKH        y                                      1
                       Dose: 2 MG
10/16/16       1833 FIBEURKH       y                                      1
                     Dose: 2 MG
10/16/16       1954 FIREVAKN       y                                      1
                     Dose: 2 MG
10/16/16       2214 FIREVAKN       y                                      1
                     Dose: 2 MG
10/17/16       0015 FIREVAKN       y                                      1
                     Dose: 2 MG
10/17/16       0305 FIREVAKN       y                                      1
                     Dose: 2 MG
10/17/16       0631 FIREVAKN       y                                      1
                     Dose: 2 MG
10/17/16       0809 FI MCCARD      y                                      1
                     Dose: 2 MG
10/17/16       0913 FI MCCARD      y                                      1
                     Dose: 2 MG
10/17/16       1006 FIMCCARD       y                                      1
                     Dose: 2 MG
10/17/16       1346 FI MCCARD      y                                      1
                     Dose: 2 MG
10/17/16       2108 FIROSSIA       y                                      1
                     Dose: 2 MG
10/18/16       0015 FI ROSS IA     y                                      1
                     Dose: 2 MG
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USER: MT                           Medication Administration Summary

Patient                                           Res1x:ms:ible Doctor LITTMAN,MARIO, MD
Account Hwaber :FA.i3b7223i:ie9        i~ti.on   FI4PVA               Unit Hwtber     F001250247
Age/Sex        37/M                    Rooa      411                  Registered Date 10/07/16
Status         DIS IN                  Bed       02                   Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                           (Continued)

10/18/16      0512 FIROSSI.A       y                                      1
                    Dose: 2 MG
10/19/16      0004 FIROSSI.A       y                                      1
                    Dose: 2 MG

10/19/16      0459 FI ROSSI.A      y                                      1
                    Dose: 2 MG


  Adain Totals                                                           16


ALBU3SOL - IPRATROPIUM/ALBUTEROL 3 ML AMPUL.NEB

  Dose        3 ML (1 AMPUL.NEB)
  Adain Route NEB
  Frequency   Q4H (PRN) PAR= PRN REASON: wheezing or SOB
  Start Date 10/16/16-1530         Stop Date None                     DC Date 10/18/16-1023
  Ordering Doctor     ZH.ANG,HONGYU MD
  Total Dispensed     0            Total Costs $                       Total Charges $
  Rx Humber   001883883



  History
   10/16/16 1527 -    POM ORDER                         by COZHANGH
   10/16/16 1531 -    VERIFIED                          by FIJASINT
   10/18/16 1023 -    DISCONTINUE                       by FIREALID     Eff: 10/18/16 102 3
      EDIT DOCTOR:    ZH.ANG,HONGYU MD
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DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                                     PAGE 145
USER: MT                          Medication Administration Summary

Patient                                            Responsible Doctor LITTMAN.MARIO, MD
A=unt Hwaber FAi:fo7223089         ic:::ic::::ati.;;n FI4PVA         Unit Hum.her    F001250247
Age/Sex      37/M                  Rooa           411                Registered Date 10/07/16
Status       DIS IN                Bed            02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                                      (Continued)


HALOSAMP - HALOPERIDOL LACTATE (SHORT ACTING) 5 MG/ML INJECTION

  Dose            5 MG   (1 ML)
  Dose Instruction         IV USE ONLY IN SICU AND 5PAV
                           SHORT ACTING
  AdJain Route IV
  Start Date 10/16/16-2015         Stop Date 10/16/16 2016                    DC Date 10/16/16-2016
  Ordering Doctor      MALIK.AMMAR M MD
  Total Dispensed      2           Total Costs Sl.12                           Total Charges $9.50
  Rx Nuaber    001884051

  Discontinue eo..ents Reached Stop Date


  History
   10/16/16 2004 - POM ORDER                                   by COMALIA
   10/16/16 2008 - EDIT                                        by FISACKSM
      FROM:
        INTERACTION COMMENT:
        DUPLICATE COMMENT:
      TO:
        INTERACTION COMMENT: RPH
        DUPLICATE COMMENT: RPH
   10/16/16 2008 - VERIFIED                                    by FISACI<SM
   10/16/16 2009 - DEBIT                                       by FISACKSM
        ITEMS: 1     DOSES: 1
   10/16/16 2016 - DISCONTINUE                             by PHABKGJOB         Eff: 10/16/16 2016
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/17/16 1129 - DEBIT                                   by DMCCARTH
        ITEMS: 1     DOSES: 1

Adlllin Date Tiae User       Given Bag Reason Code                            Items          Charge
10/16/16     2020 FIREVAKN     Y                                                  1            0.00
(10/16/16) (2015) Dose: 5 MG


  AdJain Totals                                                                   1                   0
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USER: MT                        Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Hu-.ber FA1307223089     tc;;;;,:tion   FI4PVA             Unit HWllber    F001250247
Age/Sex         37/M             ROCD           411                Registered Date 10/07/16
Status          DIS IN           Bed            02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                              (Continued)


HALOSAMP - HALOPERIDOL LACTATE (SHORT ACTING) 5 MG/ML INJECTION

  Dose        5 MG    (1 ML)
  Dose Instruction      IV USE ONLY IN SICU AND SPAV
                        SHORT ACTING
  Adain Route IV
  Frequency   Q4H (PRN) PAR= PRN REASON: Agitation
  Start Date 10/16/16-2115        Stop Date None                    DC Date 10/17/16-0720
  Ordering Doctor     MALIK.AMMAR M MD
  Total Dispensed     2           Total Costs Sl.12                  Total Charges $9.50
  Rx Number   001884103



  History
   10/16/16 2106 - POM COPY AND EDIT           by COMALIA
      FROM: Rx #001883694
      Result of Frequency/Schedule Edit
      Ordering Doctor: MALIK,AMMAR M MD
      Last Scheduled Administration Time: As Needed
      Last Actual Administration Time: 10/16/16 - 1447
      Old Freq/Sch: ONCE (PRN)
      New Freq/Sch: Q4 (PRN)
      Old Order Stop: 10/16/16 - 2103
      New Order Start: 10/16/16 - 2115
      New Order Stop:
   10/16/16 2141 - EDIT                        by FI SAC:KSM
      FROM:
        INTERACTION COMMENT:
        DUPLICATE COMMENT:
      TO:
        INTERACTION COMMENT: RPH
        DUPLICATE COMMENT: RPH
   10/16/16 2141 - EDIT                        by FISACKSM
      EDIT DOCTOR: MALIK.AMMAR M MD
      FROM:
        SIG: Q4
      TO:
        SIG: Q4H
        INTERACTION COMMENT: RPH
        DUPLICATE COMMENT: RPH
   10/16/16 2141 - VERIFIED                    by FISACKSM
   10/17/16 0013 - DEBIT                       by NREVAK
        ITEMS: 1      DOSES: 1
   10/17/16 0311 - EDIT                        by COMALIA
      EDIT DOCTOR: MALIK.AMMAR M MD
      EDIT SOURCE: Provider Source
      FROM:
        PRN REASON: RASS>2
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USER: MT                         Medication Administration Summary

Patient                                          Resp:msible Doctor LITTMAN.MARIO, MD
Account Hu.her FAi3b7223089          Location   FI4PVA             Unit HWl.ber    F001250247
Age/Sex        37/M                  RCXJ•      411                Registered Date 10/07/16
Status         DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                           (Continued)

      TO:
        PRN REASON: Agitation
   10/17/16 0624 - DEBIT                              by NREVAK
        ITEMS: 1     DOSES: 1
   10/17/16 0720 - DISCONTINUE                        by COMALIA      Eff: 10/17/16 0720
      EDIT DOCTOR: MALIK.AMMAR M MD
      EDIT SOURCE: Provider Source

Ad.in Date   Ti•e User        Given Bag Reason Code                 Iten.s          Charge
10/17/16     0015 FIREVAKN      Y                                       1
                   Dose: 5 MG

             0625 FIREVAKN       y                                      1
                   Dose: 5 MG


  Adllin Totals                                                         2
              Case 2:18-cv-00924-PD           Document 15-6     Filed 05/03/18   Page 7 of 59

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USER: MT                          Medication Administration Summary
Patient                                           Responsible Doctor LITTMAN.MARIO, MD
account Hwaber FA1307223089           L~tion     FI4PVA             Unit Huaber     F001250247
.Age/Sex         3 7/M                ROCD.      411                Registered Date 10/07/16
Status           DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                             (Continued)

HAL05AMP - HALOPERIDOL LACTATE (SHORT ACTING) 5 MG/ML INJECTION

  Dose          5 MG     (1 ML)
  Dose Instruction         IV USE ONLY IN SICU AND 5PAV
                           SHORT ACTING
  Aa.in Route IV
  Frequency   Q6 (PRN) PAR= PRN REASON: RASS > 0
  Start Date 10/17/16-1115        Stop Date None                       DC Date 10/27/16-1258
  Ordering Doctor     BORIKAR,MADHURA S MD
  Total Dispensed     4           Total Costs $2.24                     Total Charges $19.00
  Rx Nuaber   001884731



  History
   10/17/16 1107 - POM ORDER                           by COBORIKM
   10/17/16 1108 - EDIT                                by FIREALID
      FROM:
        INTERACTION COMMENT:
        DUPLICATE COMMENT:
      TO:
        INTERACTION COMMENT: RPH
        DUPLICATE COMMENT: RPH
   10/17/16 1108 - VERIFIED                            by FI REAL ID
   10/18/16 0006 - DEBIT                               by AROSSINO
        ITEMS: 1     DOSES: 1
   10/19/16 0229 - DEBIT                               by NIFFRIG
        ITEMS: 1     DOSES: 1
   10/21/16 0419 - DEBIT                               by   JKRETZ
        ITEMS: 1     DOSES: 1
   10/23/16 0020 - DEBIT                               by AROSSINO
        ITEMS: 1     DOSES: 1
   10/25/16 0846 - EDIT                                by COVALEND
      EDIT DOCTOR: VALENTINO.DOMINIC J, DO
      EDIT SOURCE: Provider Source
      FROM:
        PRN REASON: AGIT - AGITATION
      TO:
        PRN REASON: RASS > 0
   10/27/16 1259 - DISCONTINUE                         by COMANNR        Eff: 10/27/16 125 8
      EDIT DOCTOR: MANN,RUPINDER K MD
      EDIT SOURCE: Provider Source
Adn.in Date   Tiae User        Given Bag Reason Code                   Iten.s         Charge·
10/17/16      1131 FIMCCARD      Y                                         1
                    Dose: 5 MG
10/18/16      0006 FIROSSIA       y                                        1
                    Dose: 5 MG
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USER: MT                        Medication Administration Summary

Patient                                         Res1x:msible Doctor LITTMAN,MARIO, MD
Account Hwaber.FAi3o7223089         Location   FI4PVA              Unit HU».ber    F001250247
Age/Sex        37/M                 Rooa       411                 Registered Date 10/07/16
Status         DIS IN               Bed        02                  Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                           (Continued)


10/19/16    0230 FIROSSIA       y                                      1
                  Dose: 5 MG

10/21/16    0422 FIKRETZJ       y                                      1
                  Dose: 5 MG


  Ach.in Totals                                                        4
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USER: MT                         Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Nwa.ber.FAi3oi223o89      Location    FI4PVA             Unit NWllber    F001250247
Age/Sex         37/M              Rooa        411                Registered Date 10/07/16
Status         DIS IN             Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                          (Continued)


GUAI100S18 - guaiFENesin SUGAR/ALCOHOL FREE 200 MG/10 ML SYRUP

  Dose        200 MG (10 ML)
  Adain Route PO
  Frequency   Q4H (PRN) PAR; PRN REASON: CONG - CONGESTION
  Start Date 10/17/16-1130        Stop Date None                  DC Date 10/23/16-0730
  Ordering Doctor     BORIKAR,MADHURA S MD
  Total Dispensed     2           Total Costs $0.62                Total Charges $2.70
  Rx Nuaber   001884749



  History
   10/17/16 1119 - POM ORDER                   by COBORIKM
   10/17/16 1119 - NOW DOSE                    by COBORIKM
      Now Dose: 10/17/16 1130
   10/17/16 1119 - KEEP NEXT DOSE              by COBORIKM
      Keep Next Dose: 10/17/16 2100
   10/17/16 1123 - EDIT                        by FIREALID
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      FROM:
        MED: GUAI600T97 - MUCINEX
        RX ID: guaiFENesin 600 MG TABLET.SA
        SIG: BID
        SCHEDULE: SCH
        DOSE: 600 MG     (1 TABLET.SA)
        CHARGE: Sl. 50
      TO:
        MED: GUAI100S18 - guaiFENesin SUGAR/ALCOHOL FREE
        RX ID: guaiFENesin SUGAR/ALCOHOL FREE 200 MG/10 ML SYRUP
        SIG: Q4H
        SCHEDULE: PRN
        DOSE: 200 MG     (10 ML)
        CHARGE: $1. 35
   10/17/16 1123 - VERIFIED                    by FIREALID
   10/18/16 2048 - DEBIT                       by AROSSINO
        ITEMS: 1       DOSES: 1
   10/19/16 0352 - DEBIT                       by AROSSINO
        ITEMS: 1       DOSES: 1
   10/23/16 0733 - DISCONTINUE                 by COVALEND     Eff: 10/23/16 0730
      EDIT DOCTOR: VALENTINO.DOMINIC J, DO
      EDIT SOURCE: Provider Source

Ad.lain Date   Tiae User       Given Bag Rea.son Code             Iten.s         Charge
10/18/16       2051 FIROSSIA      Y                                    1
                     Dose: 200 MG

10/19/16       0422 FIROSSIA      Y                                    1
                     Dose: 200 MG
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USER: MT                       Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Huaber FA1307223089      L~ti.on     FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M              RCXJa       411                Registered Date 10/07/16
Status         DIS IN            Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)



  Adain Totals                                                         2


FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose        50 MCG    (1 ML)
  Dose Instruction      IVP FOR CRITICAL CARE UNITS AND 5-SOUTH ONLY
  Adain Route IV
  Start Date 10/17/16-2230        Stop Date 10/17/16 2231         DC Date 10/17/16-2231
  Ordering Doctor     MALIK,AMMAR M MD
  Total Dispensed     1           Total Costs S0.27                Total Charges $2.25
  Rx Nuaber   001885524

  Discontinue C:O...ents Reached Stop Date


  History
   10/17/16 2219 - POM ORDER                       by COMALIA
   10/17/16 2219 - VERIFIED                        by FISPERAR
   10/17/16 2231 - DISCONTINUE                     by PHABKGJOB     Eff: 10/17/16 2231
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/17/16 2231 - DEBIT                          by AROSSINO
        ITEMS: 1     DOSES: 1

AdJRin Date Tia.e User      Given Bag Reason Code                 Iten.s        Charge
10/17/16    2233 FIROSSIA      Y                                      1           0.00
(10/17/16) (2230) Dose: 50 MCG


  Adain Totals                                                        1                  0
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USER: MT                          Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber · :FAi3oi223o89   ·   Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex          37/M                Rocm       411                Registered Date 10/07/16
Status           DIS IN              Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                            (Continued)


ALBU3SOL - IPRATROPIUM/ALBUTEROL 3 ML AMPUL.NEB

  Dose        3 ML (1 AMPUL.NEB)
  Admin Route NEB
  Start Date 10/18/16-1015        Stop Date None                      DC Date 10/18/16-1028
  Ordering Doctor     GOOCH.JOHN R MD
  Total Dispensed     0           Total Costs $                        Total Charges $
  Rx Number   001886002



  History
   10/18/16 1014 - POM ORDER                          by COGOOCHJ
   10/18/16 1016 - EDIT                               by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/18/16 1016 - VERIFIED                           by FIREALID
   10/18/16 1028 - COPY AND EDIT                      by FI REAL ID
      TO: Rx #001886022
   10/18/16 1029 - DISCONTINUE                        by FI REAL ID     Eff: 10/18/16 1028
      EDIT DOCTOR: GOOCH,JOHN R MD
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USER: MT                        Medication Administration Summary
Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Hu.ber.FAi31J7223089       ic:X:ation   FI4PVA             Unit Hum.her    F001250247
Age/Sex         37/M               Rao•         411                Registered Date 10/07/16
Status          DIS IN             Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                               (Continued)

ALBU350L - IPRATROPIUM/ALBUTEROL 3 ML AMPUL.NEB

  Dose        3 ML (1 AMPUL.NEB)
  Adain Route NEB
  Start Date 10/18/16-1028        Stop Date None                      DC Date 10/22/16-·18 28
  Ordering Doctor     GOOCH.JOHN R MD
  Total Dispensed     13          Total Costs $2.99                    Total Charges $26.00
  Rx Nu:aber  001886022

  Discontinue Coiui.ents Reached Renew Stop Date


  History
   10/18/16 1028 - ENTER                             by FIREALID
   10/18/16 1028 - SYSTEM COPY AND EDIT              by FIREALID
      EDIT DOCTOR: GOOCH,JOHN R MD
      FROM:
        SIG: Q6H
        START: 10/18/16-1015   STOP: None         SOFT STOP:
      TO:
        SIG: Q6
        START: 10/18/16-1028   STOP: None         SOFT STOP:
   10/18/16 1028 - COPY AND EDIT                     by FIREALID
      FROM: Rx #001886002
   10/18/16 1602 - DEBIT                             by NTJ
        ITEMS: 1     DOSES: 1
   10/18/16 2007 - DEBIT                             by BNARCAVA
        ITEMS: 2     DOSES: 2
   10/19/16 0736 - DEBIT                             by NTJ
        ITEMS: 1     DOSES: 1
   10/19/16 1351 - DEBIT                             by NTJ
        ITEMS: 1     DOSES: 1
   10/19/16 2019 - DEBIT                             by BNARCAVA
        ITEMS: 2     DOSES: 2
   10/20/16 0725 - DEBIT                             by DELPRATO
         ITEMS:   2     DOSES: 2
   10/20/16 2027 - DEBIT                             by SBOTJIE
        ITEMS: 1     DOSES: 1
   10/21/16 0905 - DEBIT                             by BMULHOLL
        ITEMS: 2     DOSES: 2
   10/21/16 2156 - DEBIT                             by DSALERNO
        ITEMS: 1     DOSES: 1
   10/22/16 1028 - RENEW STOP FILED                  by SYSTEM
   10/22/16 1828 - DISCONTINUE                       by RENEW STOP      Eff: 10/22/16 1828
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Renew Stop Date
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USER: MT                              Medication Administration Summary

Patient                                               Responsible Doctor LITTMAN,MARIO, MD
Account Hu.her FAi3ci7223089              i~i:l.on   FI4PVA             Unit HUJ1.ber   F001250247
Age/Sex        37/M                       ROOll      411                Registered Date 10/07/16
Status         DIS IN                     Bed        02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                         FA1307223089                           (Continued)


Adm.in Date Tiae User             Given Bag Reason Code                  Items           Charge
10/18/16     1100 FHJHITEN          N       OTHER
(10/18/16) ( 11 0 0 ) Dose : 0 ML

10/18/16    16 07 FHJHITEN            y                                       1            0. 0 0
(10/18/16) (1700) Dose: 3 ML

10/18/16    2135 FINARCAB             y                                       1            0. 0 0
(10/18/16) (2300) Dose: 3 ML

10/19/16    0146 FINARCAB             y                                       1            0.00
(10/19/16) (0500) Dose: 3 ML

10/19/16     0800 Fllil'HITEN         y                                       1            0.00
(10/19/16) ( 11 0 0 ) Dose : 3 ML

10/19/16     1349 Fllil'HITEN         y                                       1            0. 0 0
(10/19/16) ( 170 0 ) Dose : 3 ML

10/19/16     2035 FINARCAB            y                                       1            0.00
(10/19/16) ( 2 3 0 0 ) Dose : 3 ML

10/20/16    0139 FINARCAB             y                                       1            0.00
(10/20/16) (0500) Dose: 3 ML

10/20/16     0901 FIDELPRG            y                                       1            0. 0 0
(10/20/16) ( 11 0 0 ) Dose : 3 ML

10/20/16    2052 Fllil'IRZBL          N
(10/20/16) (1700) Dose: 3 ML

10/20/16    2102 Fllil'IRZBL          N           PULSE
(10/20/16) (2300) Dose: 0 ML

10/21/16    024 7 FIBO'lJIES          N           SLEEP
(10/21/16) (0500) Dose: 0 ML

10/21/16    0742 FIMULHOB             y                                       1            0. 0 0
(10/21/16) (1100) Dose: 3 ML

10/21/16    13 41 F IMULHOB           y                                       1            0.00
(10/21/16) (1700) Dose: 3 ML
10/21/16    2036 FISALERD             N           PULSE
(10/21/16) (2300) Dose: 0 ML

10/22/16    0500 FISALERD             N           PULSE
(10/22/16) (0500) Dose: 0 ML
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USER: MT                         Medication Administration Summary

Patient                                          Resp:>nsible Doctor LITTMAN.MARIO, MD
Account Hwa.her FAi307223ci89     Lo:::;ation   FI4PVA              Unit Hwaber     F001250247
Age/Sex         37/M              RCXJa         411                 Registered Date 10/07/16
Status          DIS IN            Bed           02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                             (Continued)

10/22/16    0801 FIMULHOE        N         PULSE
(10/22/16) (1100) Dose: 0 ML

10/22/16    1609 FIMULHOE        N         PULSE
(10/22/16) (1700) Dose: 0 ML


  Admin Totals                                                          10                  0
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USER: MT                            Medication Administration Summary

Patient                                              Resp:msible Doctor LITTMAN.MARIO, MD
Account NUllber FA1307223089           i~t:i..on    FI4PVA             Unit Nwaber     F001250247
Age/Sex         37/M                   Room         411                Registered Date 10/07/16
Status          DIS IN                 Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                             (Continued)


SODI1DIS4 - SODIUM BICARBONATE 8.4% 50 MEQ/50 ML DISP.SYRIN

  Dose          3 MEQ     (3 ML)
  Dose Instruction         3 MEQ
                              3 ML
  Adain Route !NH
  Start Date 10/18/16-1100         Stop Date None                       DC Date 10/21/16-1000
  Ordering Doctor     GOOCH.JOHN R MD
  Total Dispensed     1            Total Costs $2.55                     Total Charges $21.25
  Rx Nuaber   001886026



  History
   10/18/16 1024 -      POM ORDER                         by COGOOCHJ
   10/18/16 1029 -      VERIFIED                          by FIREALID
   10/18/16 1629 -      DEBIT                             by KBURKE
        ITEMS: 1          DOSES: 1
   10/21/16 1001 -      DISCONTINUE                       by COHOWLAA     Eff: 10/21/16 100 0
      EDIT DOCTOR:      HOWLAND,AMANDA R MD
      EDIT SOURCE:      Provider Source

A.dain Date Tim.e User           Given Bag Reason Code                  I tells         Charqe
10/18/16     1100 FIWHITEN         N       MU
(10/18/16) ( 11 0 0 ) Dose : 0 MEQ

10/18/16    16 0 5 FI WHITEN      N            MU
(10/18/16) (17 0 0 ) Dose : 0 MEQ

10/18/16     2135 FINARCAB     y                                             1            0.00
( 10/18/16) (2300) Dose: 3 MEQ

10/19/16    0146 FINARCAB     y                                              1            0.00
(10/19/16) (0500) Dose: 3 MEQ

10/19/l 6    0800 FIWHITEN         y                                         1            0.00
(10/19/16) ( 11 0 0 ) Dose : 3 MEQ

10/19/16    1349 FIWHITEN     y                                              1            0.00
(10/19/16) (1700) Dose: 3 MEQ

10/19/16    2035 FINARCAB     y                                              1            0. 0 0
(10/19/16) (2300) Dose: 3 MEQ

10/20/16    0140 FINARCAB     y                                              1            0. 0 0
(10/20/16) (0500) Dose: 3 MEQ

10/20/16     0902 FIDELPRG         y                                         1            0.00
(10/20/16) ( 11 0 0 ) Dose : 3 MEQ
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USER: MT                            Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN.MARIO, MD
Account HUllber :F.ii.i3o7223oe9     i~ati.on   FI4PVA             Unit Hu.her     F001250247
Age/Sex         37/M                 Rooa       411                Registered Date 10/07/16
Status          DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    F.A.1307223089                         (Continued)

10/20/16    2058 FHJIRZBL     y                                           1            0.00
(10/20/16) (2300) Dose: 3 MEQ

10/21/16    024 7 FIBOWIES    N             SLEEP
(10/21/16) (0500) Dose: 0 MEQ

10/21/16    0743 FIMULHOB     y                                           1            0. 0 0
(10/21/16) (1100) Dose: 3 MEQ


  Adm.in Totals                                                           9                 0


ACET-33 - Acetaminophen 500 MG TABLET

  Dose        500 MG (1 TABLET)
  Admin Route PO
  Start Date 10/18/16-2045        Stop Date 10/18/16 2046          DC Date 10/18/16-2046
  Ordering Doctor     MALIK.AMMAR M MD
  Total Dispensed     0           Total Costs S                      Total Charges $
  Rx Nu:aber  001886770

  Discontinue Comaents Reached Stop Date


  History
   10/18/16 2046 - POM ORDER                   by COMALIA
   10/18/16 2100 - EDIT                        by FISPERAR
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: BS
   10/18/16 2100 - REVIEW PROVIDER ACTIVITY    by FISPERAR
                                     by FIROSSIA   Ef f: 10/18/16 2053
   10/18/16 2100 - VERIFIED                    by FISPERAR
   10/18/16 2100 - DISCONTINUE                 by PHABKGJOB     Ef f: 10/18/16 204 6
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Ad.in Date Tiae User        Given Bag Reason Code                   Iten.s         Charge
10/18/16    2053 FIROSSIA      Y                                          1          0.00
(10/18/16) (2045) Dose: 500 MG


  Admin Totals                                                            1                 0
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USER: MT                     Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Hu.her FAi3o7223o89 ·   Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex        37/M             Roca       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)


CLON1TAB25 - clonazePAM 1 MG TABLET

  Dose        1 MG (1 TABLET)
  Adain Route PO
  Start Date 10/19/16-1045        Stop Date 10/28/16 1556        DC Date 10/28/16-1556
  Ordering Doctor     BORIKAR,MADHURA S MD
  Total Dispensed     18          Total Costs S0.90               Total Charges $55.80
  Rx Nuaber   001887372



  History
   10/19/16 1034 - POM ORDER                     by COBORIKM
   10/19/16 1034 - NOW DOSE                      by COBORIKM
      Now Dose: 10/19/16 1045
   10/19/16 1034 - KEEP NEXT DOSE                by COBORIKM
      Keep Next Dose: 10/19/16 2100
   10/19/16 1035 - VERIFIED                      by FI REAL ID
   10/19/16 1124 - DEBIT                         by DGILMAN
        ITEMS: 1     DOSES: 1
   10/20/16 0919 - DEBIT                         by DGILMAN
        ITEMS: 1     DOSES: 1
   10/20/16 2004 - DEBIT                         by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/21/16 0929 - DEBIT                         by DGILMAN
        ITEMS: 1     DOSES: 1
   10/21/16 2107 - DEBIT                         by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/22/16 0759 - DEBIT                         by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/22/16 2002 - DEBIT                         by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/23/16 0807 - DEBIT                         by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 2035 - DEBIT                         by AROSSINO
        ITEMS: 1     DOSES: 1
   10/24/16 0907 - DEBIT                         by DGILMAN
        ITEMS: 1     DOSES: 1
   10/24/16 2030 - DEBIT                         by SYOUNG
        ITEMS: 1     DOSES: 1
   10/25/16 0929 - DEBIT                         by DGILMAN
        ITEMS: 1     DOSES: 1
   10/25/16 2026 - DEBIT                         by SYOUNG
        ITEMS: 1     DOSES: 1
   10/26/16 0951 - DEBIT                         by DGILMAN
        ITEMS: 1     DOSES: 1
   10/26/16 2118 - DEBIT                         by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/27/16 0816 - DEBIT                         by MMAXWELL
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USER: MT                          Medication Administration Summary

Patient                                              Resp:msible Doctor LITTMAN.MARIO, MD
Account Hwaber Fi..i:fo7223o89        Lcx:;ation    FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M                   Rocm.         411                Registered Date 10/07/16
Status         DIS IN                 Bed           02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                             (Continued)

        ITEMS: 1     DOSES: 1
   10/27/16 2146 - DEBIT                       by JDESALVO
        ITEMS: 1     DOSES: 1
   10/28/16 0828 - DEBIT                       by NCARTER
        ITEMS: 1     DOSES: 1
   10/28/16 1558 - EDIT                        by COJADHAG
      EDIT DOCTOR: JADHAV,GAURAV P MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/19/16-1045   STOP: None   SOFT STOP:
      TO:
        START: 10/19/16-1045   STOP: 10/28/16-1556   SOFT STOP:
   10/28/16 1558 - DISCONTINUE                 by COJADHAG      Eff: 10/28/16 1556
      EDIT DOCTOR: JADHAV,GAURAV P MD
      EDIT SOURCE: Provider Source
   10/28/16 1558 - POM COPY AND EDIT           by COJADHAG
      TO: Rx #U001146150

Ad11.in Date Tim.e User      Given Bag Reason Code                      Items         Charge
10/19/16     1129 FIGILMAD     y                                            1           0.00
(10/19/16) (1045) Dose: 1 MG

10/19/16     2100 FIDONAHS        N           NPO
( 10/19/16) (2100) Dose: 0 MG

10/20/16    0923 FIGILMAD         y                                         1            0.00
(10/20/16) (0900) Dose: 1 MG

10/20/16    2026 FIDONAHS         y                                         1            0.00
(10/20/16) (2100) Dose: 1 MG

10/21/16     0943 FIGILMAD        y                                         1            0.00
( 10/21/16) (0900) Dose: 1 MG

10/21/16    2117 FIDONAHS         y                                         1            0. 0 0
(10/21/16) (2100) Dose: 1 MG

10/22/16    0813 FICAVANMl        y                                         1            0.00
(10/22/16) (0900) Dose: 1 MG

10/22/16    2017 FIDONAHS         y                                         1            0.00
(10/22/16) (2100) Dose: 1 MG

10/23/16    0811 FICAVANMl        y                                         1            0. 0 0
(10/23/16) (0900) Dose: 1 MG

10/23/16    2041 FIROSSIA         y                                         1            0. 0 0
(10/23/16) (2100) Dose: 1 MG

10/24/16     0913 FIGILMAD        y                                         1            0. 0 0
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USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account HUJlber FA1307223089         Location   FI4PVA             Unit NWtber     F001250247
Age/Sex         37/M                 Rooa       411                Registered Date 10/07/16
Status          DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                          (Continued)

(10/24/16) (0900) Dose: 1 MG

10/24/16    2034 FIYOUNGS        y                                      1            0. 0 0
(10/24/16) (2100) Dose: 1 MG

10/25/16    0935 FIGILMAD        y                                      1            0. 0 0
(10/25/16) (0900) Dose: 1 MG

10/25/16    2038 FIYOUNGS        y                                      1            0.00
(10/25/16) (2100) Dose: 1 MG

10/26/16    1001 FIGILMAD        y                                      1            0. 0 0
(10/26/16) (0900) Dose: 1 MG

10/26/16    2100 FIMCGILM        N          GLUCOSE
(10/26/16) (2100) Dose: 0 MG

10/27/16     0826 FIMAXWEM       y                                      1            0. 0 0
( 10/27/16) (0900) Dose: 1 MG

10/27/16    2100 FIDESALJ        N          REFUSED
(10/27/16) (2100) Dose: 0 MG

10/28/16    0830 FICARTEN        y                                      1            0. 0 0
(10/28/16) (0900) Dose: 1 MG


  .A.d.ain Totals                                                      16                  0
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USER: MT                         Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FAi307223i:i89      Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex        37/M                RCXD.      411                Registered Date 10/07/16
Status         DIS IN              Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)

POLYlPAC - POLYETHYLENE GLYCOL 3350 17 GM/PACKET

  Dose         17 GM (1 PKT)
  AdJain Route PO
  Start Date 10/20/16-1100         Stop Date None                   DC Date ll/Ol/16-2054
  Ordering Doctor      HOWLAND.AMANDA R MD
  Total Dispensed      12          Total Costs $13.80                Total Charges $26.40
  Rx Nullher   001888820

  Discontinue Coiu.ents DC'd by Discharge


  History
   10/20/16 1050 - POM ORDER                        by COHOWLAA
   10/20/16 1050 - NOW DOSE                         by COHOWLAA
      Now Dose: 10/20/16 1100
   10/20/16 1050 - KEEP NEXT DOSE                   by COHOWLAA
      Keep Next Dose: 10/21/16 0900
   10/20/16 1054 - EDIT                             by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/20/16 1054 - VERIFIED                         by FI REAL ID
   10/20/16 1624 - DEBIT                            by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/21/16 0929 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/22/16 0800 - DEBIT                            by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 0808 - DEBIT                            by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/25/16 1105 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/26/16 0951 - DEBIT                            by DGILMAN
         ITEMS: 1       DOSES: 1
   10/27/16 0818 -   DEBIT                          by MMAXWELL
         ITEMS: 1      DOSES: 1
   10/28/16 0829 -   DEBIT                          by NC ARTER
         ITEMS: 1      DOSES: 1
   10/29/16 0841 -   DEBIT                          by MHALLAMY
         ITEMS: 1      DOSES: 1
   10/30/16 0732 -   DEBIT                          by ABLE ILER
        ITEMS: 1       DOSES: 1
   10/31/16 0846 -   DEBIT                          by KM OSLEY
        ITEMS: 1       DOSES: 1
   11/01/16 1025 -   DEBIT                          by MHALLAMY
        ITEMS: 1       DOSES: 1
   ll/Ol/16 2055 -   DISCONTINUE                    by DISCHARGE     Eff: ll/Ol/16 205 4
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USER: MT                           Medication Administration Summary

Patient                                                 Res1XJnsible Doctor LITTMAN,MARIO, MD
Account Hu.her FA1307223089             Location       FI4PVA              Unit HWllber    F001250247
Age/Sex        37/M                     ROOll          411                 Registered Date 10/07/16
Status         DIS IN                   Bed            02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                       FA1307223089                               (Continued)

       FROM:
         DC COMMENTS:
       TO:
         DC COMMENTS:
           DC'd by Discharge

Achl.in Date Ti11.e User         Given Bag Reason Code                     Items          Charge
10/20/16     1626 FIDONAHS         y                                           1            0.00
(10/20/16) ( 11 0 0 ) Dose : 17 GM

10/21/16    0943 FIGILMAD     y                                                 1            0.00
(10/21/16) (0900) Dose: 17 GM

10/22/16    0812 FICAVANMl    y                                                 1            0.00
(10/22/16) (0900) Dose: 17 GM

10/23/16    0811 FICAVANMl    y                                                 1            0. 0 0
(10/23/16) (0900) Dose: 17 GM

10/24/16    0851 FIGILMAD           N            NPO
(10/24/16) (0900) Dose: 0 GM

10/25/16    1109 FIGILMAD     y                                                 1            0.00
(10/25/16) (0900) Dose: 17 GM

10/26/16    1000 FIGILMAD     y                                                 1            0. 0 0
(10/26/16) (0900) Dose: 17 GM

10/27/16    0825 FIMAXWEM     y                                                 1            0. 0 0
(10/27/16) (0900) Dose: 17 GM

10/28/16    0831 FICARTEN     y                                                 1            0.00
(10/28/16) (0900) Dose: 17 GM

10/29/16     0905 FIHALLAM          y                                           1            0.00
(10/29/16) ( 0 9 0 0 ) Dose : 17 GM

10/30/16    0830 FIBLEIU.     y                                                 1            0. 0 0
(10/30/16) (0900) Dose: 17 GM

10/31/16    0902 FIMOSLEK     y                                                 1            0.00
(10/31/16) (0900) Dose: 17 GM

ll/Ol/16     1035 FIHALLAM     y                                                1            0. 0 0
( ll/Ol/16) (0900) Dose: 17 GM


  Ad.in Totals                                                                12                   0
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USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account HUJlber FA1307223089   · iocaii.c:ln   FI4PVA             Unit Hwaber     F001250247
Age/Sex         37/M             Rooa          411                Registered Date 10/07/16
Status          DIS IN           Bed           02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                              (Continued)


LID020VI6 - LIDOCAINE HCL 2%     20 ML VIAL

  Dose        20 MG (1 ML)
  Adain Route .ROUTE
  Start Date 10/20/16-1454        Stop Date 10/20/16 1455          DC Date 10/20/16-1455
  Ordering Doctor     DOCTOR.PYXIS OVERRIDE
  Total Dispensed     1           Total Costs $1.15                    Total Charges $9.50
  Rx Nuaber   001889134

  Discontinue Co:am.ents DC'd by RJOHNSON


  History
   10/20/16 1455 - OV INV PHA                        by RJOHNSON
   10/20/16 1455 - DISCONTINUE                       by STK MED        Eff: 10/20/16 145 5
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by RJOHNSON

CODE12.5 - ACETAMINOPHEN 300 MG/CODEINE 30 MG/        12.5 ML ELIXIR

  Dose        12.5 ML (1 ELIXIR)
  Admin Route PO
  Frequency   Q4H (PRN) PAR= PRN REASON: fever
  Start Date 10/20/16-1915        Stop Date None                   DC Date 10/20/16-1918
  Ordering Doctor     GEVORGYAN,DAVID MD
  Total Dispensed     0           Total Costs S                        Total Charges S
  Rx Nuaber   001889325



  History
   10/20/16 1913 - POM ORDER                        by COGEVORD
   10/20/16 1916 - EDIT                             by FILINC
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      FROM:
        SIG: Q4
      TO:
        SIG: Q4H
   10/20/16 1916 - VERIFIED                         by FILINC
   10/20/16 1918 - COPY AND EDIT                    by FILINC
      TO: RK #001889327
   10/20/16 1918 - DISCONTINUE                      by FILINC          Eff: 10/20/16 1918
      EDIT DOCTOR: GEVORGYAN,DAVID MD
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USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN,MARIO, MD
Account HWlher.FAi3b72i3o89     Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M             Roo•       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                          (Continued)


ACET160S3 - Acetaminophen 650 MG/20.3 ML SOLUTION

  Dose          650 MG (20.3 ML)
  Adil.in Route PO
  Frequency     Q4H (PRN) PAR= PRN REASON: FEVER OR PAIN 1-3
  Start Date 10/20/16-1~30          Stop Date None             DC Date 10/27/16-0820
  Ordering Doctor       GEVORGYAN.DAVID MD
  Total Dispensed       11          Total Costs $4.07           Total Charges $15.40
  Rx Nu:aber    001889327



  History
   10/20/16 1918 - ENTER                       by FILINC
   10/20/16 1918 - SYSTEM COPY AND EDIT        by FILINC
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      FROM:
        MED: CODE12.5 - ACETAMINOPHEN/CODEINE ELIXIR
        RX ID: ACETAMINOPHEN 300 MG/CODEINE 30 MG/ 12.5 ML ELIXIR
        PRN REASON: fever
        DOSE: 12.5 ML    (1 ELIXIR)
        START: 10/20/16-1915    STOP: None  SOFT STOP:
        CHARGE TYPE: CSU - CONTROLLED SUBSTANCES
        CHARGE: $4. 00
        LABEL COMMENTS:
      TO:
        MED: ACET160S3 - Acetaminophen
        RX ID: Acetaminophen 650 MG/20.3 ML SOLUTION
        PRN REASON: F - FEVER
        DOSE: 650 MG    (20.3 ML)
        START: 10/20/16-1930    STOP: None  SOFT STOP:
        CHARGE TYPE: UD - UNIT DOSE
        CHARGE: Sl. 40
        LABEL COMMENTS:
          INDICATIONS: ANALGESIA. ANTIPYRETIC
          SIDE EFFECTS: INCREASED LFT'S, SJS/TENS (RARE)
          NO > 4 GM OF TYLENOL / DAY
   10/20/16 1918 - COPY AND EDIT                 by FILINC
      FROM: Rx #001889325
   10/20/16 1922 - DEBIT                         by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/21/16 1554 - DEBIT                         by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/21/16 1948 - DEBIT                         by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/22/16 0802 - DEBIT                         by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/22/16 1303 - DEBIT                         by ABOWERS
        ITEMS: 1     DOSES: 1
                 Case 2:18-cv-00924-PD                Document 15-6      Filed 05/03/18   Page 24 of 59

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USER: MT                                  Medication Administration Summary

Patient                                                      Resp:Jnsible Doctor LITTMAN.MARIO, MD
Account Hwa.her '.Fii.i3 b7223 08 9 ······· · foc;.;t:Lan   FI4PVA              Unit Huaber     F001250247
Age/Sex          37/M                         Rooa          411                 Registered Date 10/07/16
Status          DIS IN                        Bed           02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                             FA1307223089                              (Continued)

    10/22/16 1857 - DEBIT                                         by MCAVANAU
         ITEMS: 1     DOSES: 1
    10/23/16 0235 - DEBIT                                         by AROSSINO
         ITEMS: 1     DOSES: 1
    10/23/16 1249 - DEBIT                                         by MCAVANAU
         ITEMS: 1     DOSES: 1
    10/24/16 0220 - DEBIT                                         by AROSSINO
         ITEMS: 1     DOSES: 1
    10/24/16 0943 - EDIT                                          by COREGANJ
       EDIT DOCTOR: REGAN.JOHN E MD
       EDIT SOURCE: Provider Source
       FROM:
         PRN REASON: F - FEVER
       TO:
         PRN REASON: FEVER OR PAIN 2-3
    10/24/16 2031 - DEBIT                                         by SYOUNG
         ITEMS: 1     DOSES: 1
    10/25/16 0510 - DEBIT                                         by CBURKE
         ITEMS: 1     DOSES: 1
    10/25/16 0846 - EDIT                                          by COVALEND
       EDIT DOCTOR: VALENTINO.DOMINIC J, DO
       EDIT SOURCE: Provider Source
       FROM:
         PRN REASON: FEVER OR PAIN 2-3
       TO:
         PRN REASON: FEVER OR PAIN 1-3
    10/27/16 0818 - DEBIT                                         by MMAXWELL
         ITEMS: 1     DOSES: 1
    10/27/16 0822 - DISCONTINUE                                   by COIRIATB     Eff: 10/27/16 0820
       EDIT DOCTOR: IRIARTE OPORTO.BLANCA E MD
       EDIT SOURCE: Provider Source
    10/27/16 0845 - CREDIT                                        by MMAXWELL
         ITEMS: 1     DOSES: 1
Adm.in Date      TiJLe User       Given Bag Reason Code                         Items           Charcre
10/20/16         1958 FIDONAHS       y                                              1
                        Dose: 650 MG
10/21/16         1559 FIDONAHS      y                                                1
                       Dose: 650 MG
10/21/16         2001 FIDONAHS      y                                               1
                       Dose: 650 MG
10/22/16         0810 FICAVANMl     y                                               1
                       Dose: 650 MG

10/22/16         1304 FIBOliJERA    y                                               1
                       Dose: 650 MG
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USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account HUJlber FA1307223089       Location   FI4PVA             Unit Nuaber     F001250247
Age/Sex         37/M               Rooll      411                Registered Date 10/07/16
Status          DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                          (Continued)

10/22/16    1902 FICAVANMl     y                                      1
                  Dose: 650 MG

10/23/16    0235 FIDONAHS      y                                      1
                  Dose: 650 MG

10/23/16    1259 FICAVANMl     y                                      1
                  Dose: 650 MG

10/24/16    0221 FI ROSS IA.   y                                      1
                  Dose: 650 MG

10/24/16    2035 FI YOUNGS     y                                      1
                  Dose: 650 MG

10/25/16    0518 FIBURKEC      y                                      1
                  Dose: 650 MG


  Achin Totals                                                       11
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USER: MT                           Medication Administration Summary

Patient                                              Responsible Doctor LITTMAN,MARIO, MD
Account HUllber Fii.i3o7223Cia9     Lcx:;e.ti.Cin   FI4PVA             Unit HWllber    F001250247
.Age/Sex        37/M                Rcx:m           411                Registered Date 10/07/16
Status          DIS IN              Bed             02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                               (Continued)


HYDR1DIS2 - HYDROmorphone HCL (DILAUDID) 1 MG/ML

  Dose         1 MG (1 ML)
  AdJain Route IV
  Start Date 10/21/16-0145         Stop Date 10/21/16 0146                DC Date 10/21/16-0146
  Ordering Doctor      GEVORGYAN,DAVID MD
  Total Dispensed      1           Total Costs $1.11                       Total Charges $9.25
  Rx Number    001889533

  Discontinue C:O..ents Reached Stop Date


  History
   10/21/16 0132 - POM ORDER                              by COGEVORD
   10/21/16 0145 - VERIFIED                               by FISPERAR
   10/21/16 0146 - DISCONTINUE                            by PHABI<GJOB     Eff: 10/21/16 0146
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/21/16 0148 - DEBIT                                 by JKRETZ
        ITEMS: 1     DOSES: 1

11.cbain Date Tiae User      Given Bag Reason Cc:x:le                     Items         Charge
10/21/16      0156 FII<RETZJ   Y                                              1           0.00
(10/21/16) (0145) Dose: 1 MG


  Adain Totals                                                                1                 0
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DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 168
USER: MT                       Medication Administration Summary

Patient                                       Resp::msible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089       Location   FI4PVA              Unit Hum.her    F001250247
Age/Sex        37/M               Room       411                 Registered Date 10/07/16
Status         DIS IN             Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


ALTE2VIA2 - ALTEPLASE 2 MG VIAL

  Dose         2 MG (1 VIAL)
  Acbtin Route IV
  Start Date 10/21/16-0915         Stop Date 10/21/16 0916         DC Date 10/21/16-0916
  Ordering Doctor      CHOWDHURY,JUNAD MD
  Total Dispensed      1           Total Costs $111.93              Total Charges $922.50
  Rx Nullber   001889790

  Discontinue Coaaents Reached Stop Date


  History
   10/21/16 0903 - POM ORDER                       by COCHOlilDJ
   10/21/16 0905 - VERIFIED                        by FIANDERC
   10/21/16 0916 - DISCONTINUE                     by PHABKGJOB      Eff: 10/21/16 0916
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/21/16 0918 - DEBIT                           by TEBERHAR
        ITEMS: 1     DOSES: 1

Admin Date Time User         Given Bag Reason Ccxle                Items         Charge
10/21/16    0922 FIEBERHP      Y                                       1           0. 0 0
(10/21/16) (0915) Dose: 2 MG


  Admin Totals                                                         1                 0
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USER: MT                          Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber · FAi3ci7223o89     Location   FI4PVA             Unit NUJ11.ber  F001250247
Age/Sex          37/M              Rooa       411                Registered Date 10/07/16
Status           DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)


NYSTlOOSM - Nystatin 500 MU/5 ML SUSPENSION

  Dose        500 MU (5 ML)
  Dose Instruction    SWISH AND SWALLOW
  Admin Route PO
  Start Date 10/21/16-1300        Stop Date None                    DC Date 10/26/16-1601
  Ordering Doctor     HOWLAND.AMANDA R MD
  Clinical Indication SKIN & SOFT TISSUE
  Total Dispensed     16          Total Costs $14.88                 Total Charges $31.20
  Rx Nuaber   001889974



  History
   10/21/16 1011 - POM ORDER                        by COHOWLAA
   10/21/16 1101 - VERIFIED                         by FI REAL ID
   10/21/16 1209 - DEBIT                            by DGILMAN
        ITEMS: 1      DOSES: 1
   10/21/16 1555 - DEBIT                            by SDONAHUE
        ITEMS: 1      DOSES: 1
   10/21/16 1948 - DEBIT                            by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/22/16 0801 - DEBIT                            by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/22/16 1845 - DEBIT                            by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/22/16 2003 - DEBIT                            by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/23/16 1520 - DEBIT                            by MCAVANAU
        ITEMS: 1      DOSES: 1
   10/23/16 1649 - DEBIT                            by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 2035 - DEBIT                            by AROSSINO
        ITEMS: 1     DOSES: 1
   10/24/16 0929 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/24/16 1758 - DEBIT                            by SYOUNG
        ITEMS: 1     DOSES: 1
   10/24/16 2031 - DEBIT                            by SYOUNG
        ITEMS: 1     DOSES: 1
   10/25/16 0959 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/25/16 1613 - DEBIT                            by SYOUNG
        ITEMS: 1     DOSES: 1
   10/25/16 2027 - DEBIT                            by SYOUNG
        ITEMS: 1     DOSES: 1
   10/26/16 0952 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/26/16 1602 - DISCONTINUE                      by COMANNR       Eff: 10/26/16 1601
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USER: MT                             Medication Administration Summary

Patient                                                  Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FAl30722:fri89                Location   FI4PVA             Unit HW1.ber    F001250247
Age/Sex        37/M                          Rooa       411                Registered Date 10/07/16
Status         DIS IN                        Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                            FA1307223089                          (Continued)

      EDIT DOCTOR: MANN,RUPINDER K MD
      EDIT SOURCE: Provider Source
   10/26/16 1602 - POM COPY AND EDIT                          by COMANNR
      TO: Rx #U001145078

A.chi.in Date Tiae User            Given Bag Reason Code                    Items          Chara-e
10/21/16      1215 FIGILMAD           y                                         1            0. 0 0
(10/21/16) ( 13 0 0 ) Dose : 5 0 0 MU
10/21/16    1702 FIDONAHS      y                                                1            0. 0 0
(10/21/16) (1700) Dose: 500 MU

10/21/16    2118 FIDONAHS      y                                                1            0.00
(10/21/16) (2100) Dose: 500 MU

10/22/16    0813 FICAVANMl     y                                                1            0.00
(10/22/16) (0900) Dose: 500 MU

10/22/16     1206 FICAVANMl         y                                           1            0.00
(10/22/16) ( 13 0 0) Dose: 5 0 0 MU

10/22/16    1849 FICAVANMl     y                                                1            0. 0 0
(10/22/16) (1700) Dose: 500 MU

10/22/16    2032 FIDONAHS      N
(10/22/16) (2100) Dose: 500 MU

10/22/16    2100 FIDONAHS                N          REFUSED
(10/22/16) (2100) Dose: 0 MU

10/23/16    0811 FICAVANMl               N          REFUSED
(10/23/16) (0900) Dose: 0 MU

10/23/16     1521 FICAVANMl         y                                           1            0.00
(10/23/16) ( 13 0 0 ) Dose : 500 MU
10/23/16       1658 FICAVANMl            y                                      1            0. 0 0
(10/23/16) ( 1 7 0 0 ) Dose : 5 0 0 MU
10/23/16    2041 FIROSS!A      y                                                1            0.00
(10/23/16) (2100) Dose: 500 MU

10/24/16    1003 FIGILMAD      y                                                1            0.00
(10/24/16) (0900) Dose: 500 MU

10/24/16     1300 FIGILMAD           N             PU
(10/24/16) ( 13 0 0 ) Dose : 0 MU

10/24/16    1759 FIYOUNGS      y                                                1            0.00
(10/24/16) (1700) Dose: 500 MU
               Case 2:18-cv-00924-PD              Document 15-6   Filed 05/03/18   Page 30 of 59

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USER: MT                             Medication Administration Summary

Patient                                               Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089               Location   FI4PVA             Unit Humber     F001250247
Age/Sex        37/M                       Room.      411                Registered Date 10/07/16
Status         DIS IN                     Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                         Fl!.1307223089                         (Continued)


10/24/16    2034 FIYOUNGS      y                                              1            0. 0 0
(10/24/16) (2100) Dose: 500 MU

10/25/16    1001 FIGILMAD      y                                              1            0. 0 0
(10/25/16) (0900) Dose: 500 MU

10/25/16     14 4 7 FIGILMAD        y                                         1            0.00
(10/25/16) ( 13 0 0) Dose: 5 0 0 MU

10/25/16     1631 FIYOUNGS          y                                         1            0.00
(10/25/16) ( 17 0 0) Dose: 5 0 0 MU

10/25/16     2038 FIYOUNGS            y                                       1            0.00
(10/25/16) ( 21 0 0 ) Dose : 5 0 0 MU

10/26/16    1000 FIGILMAD      y                                              1            0. 0 0
(10/26/16) (0900) Dose: 500 MU

10/26/16     1406 FIGILMAD      y                                             1            0.00
(10/26/16) ( 1300) Dose: 500 MU


  Adain Totals                                                               18                  0
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USER: MT                           Medication Administration Summary

Patient                                            Responsible Doctor LITTMAN.MARIO, MD
Account Nuaber · FAi:fo7223o89         Location   FI4PVA             Unit Nu.her     F001250247
Age/Sex          37/M                  Rc:xm      411                Registered Date 10/07/16
Status           DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                            (Continued)


HYDR2DIS5 - HYDROmorphone HCl 2 MG/ML DISP.SYRIN

  Dose        2 MG (1 ML)
  Adain Route IV
  Frequency   Q3 (PRN) PAR= PRN REASON: Severe pain(7-l0/l0)
  Start Date 10/21/16-1015        Stop Date None             DC Date 10/23/16-1042
  Ordering Doctor     HO~LAND,AMANDA R MD
  Total Dispensed     7           Total Costs $8.05           Total Charges $66.50
  Rx Nu:aber  001889975



  History
   10/21/16 1015 - POM ORDER                            by COHOWLAA
   10/21/16 1101 - EDIT                                 by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/21/16 1101 - VERIFIED                             by FIREALID
   10/21/16 1948 - DEBIT                                by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/21/16 2253 - DEBIT                                by JKRETZ
        ITEMS: 1     DOSES: 1
   10/22/16 2004 - DEBIT                                by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/22/16 2338 - DEBIT                                by CWRIGHT2
        ITEMS: 1     DOSES: 1
   10/23/16 0245 - DEBIT                                by DMCDEVITT
        ITEMS: 1     DOSES: 1
   10/23/16 0610 - DEBIT                                by DMCDEVITT
        ITEMS: 1     DOSES: 1
   10/23/16 0945 - DEBIT                                by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 1047 - DISCONTINUE                          by COMANNR       Eff: 10/23/16 1042
      EDIT DOCTOR: MANN,RUPINDER K MD
      EDIT SOURCE: Provider Source
   10/23/16 1047 - POM COPY AND EDIT                    by COMANNR
      TO: RK #U001142972

Ad.Jain Date   Ti11.e User        Given Bag Reason Code                Iten.s        Charge
10/21/16       19 5 2 FIDONAHS      N
                       Dose: 2 MG

10/21/16       2255 FIKRETZJ       y                                       1
                     Dose: 2 MG

10/22/16       2032 FIDONAHS       y                                       1
                     Dose: 2 MG
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USER: MT                          Medication Administration Summary

Patient                                             Resp;Jnsible Doctor LITTMAN.MARIO, MD
Account Nwaber . FAf:3b722308 9 .       Location   FI4PVA              Unit Nwaber     F001250247
Age/Sex          37/M                   ROOll      411                 Registered Date 10/07/16
Status           DIS IN                 Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                       FA1307223089                           (Continued)


10/22/16      2342 FIDONAHS         y                                       1
                    Dose: 2 MG

10/23/16     0246 FIDONAHS          y                                       1
                   Dose: 2 MG

10/23/16      0612 FIDONAHS         y                                       1
                    Dose: 2 MG

10/23/16      0948 FICAVANMl        y                                       1
                    Dose: 2 MG


  Adm.in Totals
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USER: MT                          Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089           Location   FI4PVA             Unit Number     F001250247
Age/Sex        37/M                   ROOll      411                Registered Date 10/07/16
Status         DIS IN                 Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                           (Continued)


HYDR1DIS2 - HYDROmorphone HCL (DILAUDID) 1 MG/ML

  Dose        1 MG (1 ML)
  Adain Route IV
  Frequency   Q3H (PRN) PAR= PRN REASON: MODERATE PAIN(4-6/l0)
  Start Date 10/21/16-1015        Stop Date None             DC Date 10/23/16-1042
  Ordering Doctor     HO~LAND,AMANDA R MD
  Total Dispensed     3           Total Costs $3.33            Total Charges $27.75
  Rx Nu:aber  001889979



  History
   10/21/16 1015 - POM ORDER                           by COHOWLAA
   10/21/16 1027 - EDIT                                by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/21/16 1102 - VERIFIED                            by FIREALID
   10/22/16 0030 - DEBIT                               by JKRETZ
        ITEMS: 1     DOSES: 1
   10/22/16 0802 - DEBIT                               by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/22/16 1847 - DEBIT                               by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 1047 - DISCONTINUE                         by COMANNR      Eff: 10/23/16 1042
      EDIT DOCTOR: MANN,RUPINDER K MD
      EDIT SOURCE: Provider Source
   10/23/16 1047 - POM COPY AND EDIT                   by COMANNR
      TO: RK #U001142973

AW..in Date   Tiae ~U=se=r~-- Given Bag Reason Code                  I tells        Charge
10/22/16      0031 FIKRETZJ     Y                                         1
                    Dose: 1 MG

10/22/16      0806 FICAVANMl      y                                       1
                    Dose: 1 MG


  Adlllin Totals                                                          2
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DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 175
USER: MT                         Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber :FAi:fo7223o89     Loc:;ation   FI4PVA             Unit Hwa.her    F001250247
Age/Sex        37/M               Roca         411                Registered Date 10/07/16
Status         DIS IN             Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                              (Continued)


FAM010VI12 - Famotidine/Pf 20 MG/2 ML INJECTION

  Dose          20 MG (2 ML)
  Adit.in Route IV
  Start Date 10/21/16-2130          Stop Date 10/21/16 2131         DC Date 10/21/16-2131
  Ordering Doctor       PATEL,SANSKRUTI MD
  Total Dispensed       1           Total Costs $0.96                Total Charges $8.00
  Rx Nuaber     001890593

  Discontinue Co:am.ents Reached Stop Date


  History
   10/21/16 2123 - POM ORDER                         by COPATESA
   10/21/16 2132 - EDIT                              by FISPERAR
      EDIT DOCTOR: PATEL,SANSKRUTI MD
   10/21/16 2132 - VERIFIED                          by FISPERAR
   10/21/16 2132 - DISCONTINUE                       by PHABKGJOB     Eff: 10/21/16 2131
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/21/16 2201 - DEBIT                             by SDONAHUE
        ITEMS: 1     DOSES: 1

Admin Date Time User        Given Bag Reason Code                   I tells        Charge
10/21/16    2203 FIDONAHS     Y                                           1          0. 0 0
(10/21/16) (2130) Dose: 20 MG


  Adain Totals                                                           1                  0
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USER: MT                           Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN,MARIO, MD
Account Hu.her ·FAi:ii:Ji223o89 ·    Location    FI4PVA             Unit Number     F001250247
Age/Sex         37/M                 Roo•        411                Registered Date 10/07/16
Status          DIS IN               Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                           (Continued)

HYDR1DIS2 - HYDROmorphone HCL (DILAUDID) 1 MG/ML

  Dose        1 MG (1 Ml)
  Adain Route IV
  Frequency   Q3H (PRN) PAR= PRN REASON: Severe pain(7-l0/l0)
  Start Date 10/23/16-1045        Stop Date None              DC Date 10/24/16-1641
  Ordering Doctor     MANN,RUPINDER K MD
  Total Dispensed     3           Total Costs $3.33            Total Charges $27. 75
  Rx Nu:aber  001891692



  History
   10/23/16 1047 - POM COPY AND EDIT           by COMANNR
      FROM: Rx #001889975
   10/23/16 1050 - EDIT                        by FILINC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/23/16 1050 - EDIT                        by FILINC
      EDIT DOCTOR: MANN,RUPINDER K MD
      FROM:
        MED: HYDR2DIS5 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCl 2 MG/ML DISP.SYRIN
        SIG: Q3
        CHARGE: $9. 50
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        MED: HYDR1DIS2 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCL (DILAUDID) 1 MG/ML
        SIG: Q3H
        CHARGE: $9. 25
        DUPLICATE COMMENT: RPH
        RX COMMENTS:
   10/23/16 1050 - VERIFIED                    by FIL INC
   10/23/16 2320 - DEBIT                       by AROSSINO
        ITEMS: 1       DOSES: 1
   10/24/16 0229 - DEBIT                       by AROSSINO
        ITEMS: 1       DOSES: 1
   10/24/16 0540 - DEBIT                       by AROSSINO
        ITEMS: 1       DOSES: 1
   10/24/16 1642 - DISCONTINUE                 by COIRI.ATB    Eff: 10/24/16 1641
      EDIT DOCTOR: IRIARTE OPORTO,BLANCA E MD
      EDIT SOURCE: Provider Source

A.dlain Date   Ti11.e .,.U=s=er=----- Given Bag Reason Code          Iten.s         Charge
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USER: MT                          Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN,MARIO, MD
Account Hu.her :FA:f3()7223o89        iocaii~n   FI4PVA             Unit Nllllber   F001250247
Age/Sex        37/M                   Roca       411                Registered Date 10/0 7/16
Status         DIS IN                 Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                          (Continued)

10/23/16      2321 FIROSSIA       y                                      1
                    Dose: 1 MG

10/24/16      0229 FIROSSIA       y                                      1
                    Dose: 1 MG

10/24/16      0541 FI ROSS IA     y                                      1
                    Dose: 1 MG


  .A.cbain Totals                                                        3
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DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 178
USER: MT                         Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account Nu.ber.FAf3ci72i3ci89     iOC:ation   FI4PVA             Unit Nwaber     F001250247
Age/Sex         37/M              Roo•        411                Registered Date 10/07/16
Status          DIS IN            Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


HYDR5DI52 - HYDROmorphone HCl 0.5 MG/0.5 ML DISP.SYRIN

  Dose        0.5 MG (0.5 ML)
  Admin Route IV
  Frequency   Q3H (PRN) PAR= PRN REASON: MODERATE PAIN(4-6/l0)
  Start Date 10/23/16-1315        Stop Date None             DC Date 10/24/lo-1641
  Ordering Doctor     MANN,RUPINDER K MD
  Total Dispensed     3           Total Costs $5.04            Total Charges $42.00
  Rx Nuaber   001891693



  History
   10/23/16 1047 - POM COPY AND EDIT           by COMANNR
      FROM: Rx #001889979
   10/23/16 1050 - EDIT                        by FILINC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/23/16 1050 - EDIT                        by FILINC
      EDIT DOCTOR: MANN,RUPINDER K MD
      FROM:
        MED: HYDR1DIS2 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCL (DILAUDID) 1 MG/ML
        CHARGE: $9. 25
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        MED: HYDR5DI52 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCl 0.5 MG/0.5 ML DISP.SYRIN
        CHARGE: $14. 00
        DUPLICATE COMMENT: RPH
        RX COMMENTS:
   10/23/16 1050 - VERIFIED                    by FI LINC
   10/23/16 1657 - DEBIT                       by MCAVANAU
        ITEMS: 1       DOSES: 1
   10/23/16 1701 - DEBIT                       by MCAVANAU
        ITEMS: 1       DOSES: 1
   10/23/16 2039 - DEBIT                       by AROSSINO
        ITEMS: 1       DOSES: 1
   10/24/16 1642 - DISCONTINUE                 by COIRIATB     Eff: 10/24/16 1641
      EDIT DOCTOR: IRIARTE OPORTO,BLANCA E MD
      EDIT SOURCE: Provider Source

Admin Date   Tim.e User       Given Bag Reason Code               Item.s        Charge
10/23/16     1658 FICAVANMl      Y                                     1
                    Dose: 0.5 MG
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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hu.her FA1307223089     Location    FI4PVA             Unit Hwa.her    F001250247
Age/Sex        37/M             RCXla       411                Registered Date 10/07/16
Status         DIS IN           Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                         (Continued)


10/23/16    2041 FIROSSIA       Y                                    1
                  Dose: 0. 5 MG


  Achin Totals                                                       2
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USER: MT                         Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Nu.ber.Fii.i3o7223089     Location   FI4PVA             Unit Nwa.ber    F001250247
age/Sex         37/M              Rooa       411                Registered Date 10/07/16
Status          DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


SENN1TAB9 - SENOKOT S TABLET

  Dose        1 TAB (1 TABLET)
  Adain Route PO
  Start Date 10/23/16-1045        Stop Date None                 DC Date ll/Ol/16-2054
  Ordering Doctor     MANN,RUPINDER K MD
  Total Dispensed     18          Total Costs $1.62               Total Charges $19.80
  Rx Nullher  001891694

  Discontinue Comaents DC'd by Discharge


  History
   10/23/16 1048 - POM ORDER                       by COMANNR
   10/23/16 1048 - NOW DOSE                        by COMANNR
      Now Dose: 10/23/16 1045
   10/23/16 1048 - KEEP NEXT DOSE                  by COMANNR
      Keep Next Dose: 10/23/16 2100
   10/23/16 1050 - EDIT                            by FILINC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: V
   10/23/16 1051 - VERIFIED                        by FI LINC
   10/23/16 1249 - DEBIT                           by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 2035 - DEBIT                           by AROSSINO
        ITEMS: 1     DOSES: 1
   10/24/16 2030 - DEBIT                           by SYOUNG
        ITEMS: 1     DOSES: 1
   10/25/16 0930 - DEBIT                           by DGILMAN
        ITEMS: 1     DOSES: 1
   10/25/16 2026 - DEBIT                           by SYOUNG
        ITEMS: 1     DOSES: 1
   10/26/16 0952 - DEBIT                           by DGILMAN
        ITEMS: 1     DOSES: 1
   10/26/16 2119 - DEBIT                           by MMCGILL
        ITEMS: 1     DOSES: 1
   10/27/16 0816 - DEBIT                           by MMAXWELL
        ITEMS: 1     DOSES: 1
   10/27/16 2145 - DEBIT                           by JDESALVO
        ITEMS: 1     DOSES: 1
   10/28/16 0828 - DEBIT                           by NC ARTER
        ITEMS: 1     DOSES: 1
   10/28/16 2118 - DEBIT                           by JAEKIM
        ITEMS: 1     DOSES: 1
   10/29/16 0840 - DEBIT                           by MHALLAMY
        ITEMS: 1     DOSES: 1
   10/29/16 2055 - DEBIT                           by KS KANE
            Case 2:18-cv-00924-PD          Document 15-6      Filed 05/03/18   Page 40 of 59

DATE: 11/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 181
USER: MT                        Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Hu..ber.FAi3b7223b89        iocation     FI4PVA             Unit Hu..ber    F001250247
lge/Sex          37/M               Roca         411                Registered Date 10/07/16
Status          DIS IN              Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   Fll.1307223089                           (Continued)

        ITEMS: 1     DOSES: 1
   10/30/16 0732 - DEBIT                               by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/30/16 2015 - DEBIT                               by DTAGOE
        ITEMS: 1     DOSES: 1
   10/31/16 0846 - DEBIT                               by KM OSLEY
        ITEMS: 1     DOSES: 1
   10/31/16 2039 - DEBIT                               by DTAGOE
        ITEMS: 1     DOSES: 1
   ll/Ol/16 1025 - DEBIT                               by MHALLAMY
        ITEMS: 1     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                         by DISCHARGE    Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by Discharge

Adm.in Date Time User       Given Bag Reason Code                     Items          Charge
10/23/16    1259 FICAVANMl    y                                           1            0.00
(10/23/16) (1045) Dose: 1 TAB

10/23/16    2041 FIROSSI.A    y                                           1            0.00
(10/23/16) (2100) Dose: 1 TAB

10/24/16    0900 FIGILMAD     N            NPO
(10/24/16) (0900) Dose: 0 TAB

10/24/16    2034 FIYOUNGS     y                                           1            0.00
(10/24/16) (2100) Dose: 1 TAB

10/25/16    0935 FIGILMAD     y                                           1            0.00
(10/25/16) (0900) Dose: 1 TAB
10/25/16    2038 FIYOUNGS     y                                          1             0.00
(10/25/16) (2100) Dose: 1 TAB
10/26/16    1001 FIGILMAD     y                                          1             0.00
(10/26/16) (0900) Dose: 1 TAB

10/26/16    2146 FIMCGILM     y                                          1             0. 0 0
(10/26/16) (2100) Dose: 1 TAB

10/27/16    08 26 FIMAXliJEM  y                                          1             0.00
(10/27/16) (0900) Dose: 1 TAB

10/27/16    2100 FIDESALJ     N            REFUSED
(10/27/16) (2100) Dose: 0 TAB

10/28/16    0831 FICARTEN       y                                        1             0.00
             Case 2:18-cv-00924-PD       Document 15-6        Filed 05/03/18   Page 41 of 59

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USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account NUJlber FA1307223089       Location   FI4PVA             Unit Nuaber     F001250247
Age/Sex         37/M               Roc:m.     411                Registered Date 10/07/16
Status          DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                              (Continued)

(10/28/16) (0900) Dose: 1 TAB

10/28/16    2123 FII<IMJ      y                                           1            0.00
(10/28/16) (2100) Dose: 1 TAB

10/29/16    0901 FIHALLAM     y                                           1            0.00
(10/29/16) (0900) Dose: 1 TAB

10/29/16    2209 FISKANEI<    y                                           1            0. 0 0
(10/29/16) (2100) Dose: 1 TAB

10/30/16    0826 FIBLEILA     y                                           1            0. 0 0
(10/30/16) (0900) Dose: 1 TAB

10/30/16    2053 FITAGOED     y                                           1            0.00
(10/30/16) (2100) Dose: 1 TAB

10/31/16    0856 FIMOSLEK     y                                           1            0. 0 0
(10/31/16) (0900) Dose: 1 TAB

10/31/16    2106 FITAGOED     y                                           1            0. 0 0
(10/31/16) (2100) Dose: 1 TAB

ll/Ol/16     1036 FIHALLAM     y                                          1            0.00
( ll/Ol/16) (0900) Dose: 1 TAB


  Adm.in Totals                                                         17                   0


FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose         100 MCG (2 ML)
  Acbain Route .ROUTE
  Start Date 10/24/16-1017         Stop Date 10/24/16 1018           DC Date 10/24/16-1018
  Ordering Doctor      DOCTOR.PYXIS OVERRIDE
  Total Dispensed      1           Total Costs $0.27                  Total Charges $2.25
  Rx Number    001892538

  Discontinue Collll.ents DC'd by DHIN


  History
   10/24/16 1018 - OV INV PHA                       by DHIN
   10/24/16 1019 - DISCONTINUE                      by STI< MED        Eff: 10/24/16 1018
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
            Case 2:18-cv-00924-PD      Document 15-6        Filed 05/03/18   Page 42 of 59

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 183
USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hum.her FA1307223089     Location   FI4PVA             Unit Hum.her    F001250247
Age/Sex         37/M             Roca       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                              (Continued)


MIDA1VIA13 - Midazolam HCl/Pf 2 MG/2 ML INJECTION

  Dose        2 MG (2 ML)
  Admin Route .ROUTE
  Start Date 10/24/16-1017        Stop Date 10/24/16 1018          DC Date 10/24/16-1018
  Ordering Doctor     DOCTOR,PYXIS OVERRIDE
  Total Dispensed     1           Total Costs $0.29                 Total Charges $2.50
  Rx Number   001892539

  Discontinue Coam.ents DC'd by DHIN


  History
   10/24/16 1019 - DISCONTINUE                    by STK MED         Eff: 10/24/16 1018
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
   10/24/16 1019 - OV INV PHA                     by DHIN

FENT0.0528 - fentaNYL CITRATE/PF 250 MCG/5 ML INJECTION

  Dose        250 MCG (5 ML)
  Adain Route .ROUTE
  Start Date 10/24/16-1018        Stop Date 10/24/16 1019          DC Date 10/24/16-1019
  Ordering Doctor     DOCTOR,PYXIS OVERRIDE
  Total Dispensed     1           Total Costs Sl.32                 Total Charges $11.00
  Rx Nulllher 001892541

  Discontinue Coaaents DC'd by DHIN


  History
   10/24/16 1019 - DISCONTINUE                    by STK MED         Ef f: 10/24/16 1019
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
   10/24/16 1019 - OV INV PHA                     by DHIN
             Case 2:18-cv-00924-PD       Document 15-6     Filed 05/03/18     Page 43 of 59

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 184
USER: MT                         Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account Hllllber FA1307223089     Loc:;ation   FI4PVA             Unit Nwaber     F001250247
Age/Sex          37/M             ROCD.        411                Registered Date 10/07/16
Status           DIS IN           Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                              (Continued)


BUPI30VI6 - BUPIVACAINE/EPI 0.5%/0.0005 30 ML VIAL

  Dose         30 ML (1 INJECTION)
  Achlin Route .ROUTE
  Start Date 10/24/16-1308         Stop Date 10/24/16 1309         DC Date 10/24/16-1309
  Ordering Doctor      DOCTOR.PYXIS OVERRIDE
  Total Dispensed      1           Total Costs $2.95                Total Charges $24.50
  Rx Nuaber    001892760

  Discontinue Co. .ents DC'd by MDOHERTY


  History
   10/24/16 1309 - DISCONTINUE                       by STK MED      Eff: 10/24/16 130 9
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by MDOHERTY
   10/24/16 1309 - OV INV PHA                        by MDOHERTY

GLYC0.2V71 - GLYCOPYRROLATE 0.2 MG/ML (5 ML) SYRINGE

  Dose         1 MG (5 ML)
  Achlin Route .ROUTE
  Start Date 10/24/16-1335         Stop Date 10/24/16 1336         DC Date 10/24/16-1336
  Ordering Doctor      DOCTOR.PYXIS OVERRIDE
  Total Dispensed      1           Total Costs $29.68               Total Charges $30. 70
  Rx Hua.her   001892789

  Discontinue Collll.ents DC'd by DHIN


  History
   10/24/16 1336 - OV INV PHA                       by DHIN
   10/24/16 1336 - DISCONTINUE                      by STK MED       Ef f:   10/24/16 133 6
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
               Case 2:18-cv-00924-PD     Document 15-6      Filed 05/03/18    Page 44 of 59

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 185
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089      Location   FI4PVA             Unit HUlllber   F001250247
Age/Sex        37/M              RCXJa      411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                               (Continued)


NEOS5DIS - Neostigmine Methylsulfate 5 MG/S ML DISP.SYRIN

  Dose        5 MG (5 ML)
  Ad.in Route IV
  Start Date 10/24/16-1335        Stop Date 10/24/16 1336          DC Date 10/24/16-1336
  Ordering Doctor     DOCTOR,PYXIS OVERRIDE
  Total Dispensed     1           Total Costs $5.00                 Total Charges $41.25
  Rx Nuaber   001892790

  Discontinue CoJU.ents DC'd by DHIN


  History
   10/24/16 1336 - DISCONTINUE                    by STK MED         Eff: 10/24/16 133 6
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
   10/24/16 1336 - OV INV FHA                     by DHIN

ONDA2VIA2 - Ondansetron HCl/Pf 4 MG/2 ML INJECTION

  Dose         4 MG (2 ML)
  Achain Route .ROUTE
  Start Date 10/24/16-1335         Stop Date 10/24/16 1336         DC Date 10/24/16-1336
  Ordering Doctor      DOCTOR.PYXIS OVERRIDE
  Total Dispensed      1           Total Costs $0.44                Total Charges $3.75
  Rx Number    001892791

  Discontinue ColllD.ents DC'd by DHIN


  History
   10/24/16 1336 - OV INV FHA                     by DHIN
   10/24/16 1336 - DISCONTINUE                    by STK MED         Ef f:   10/24/16 133 6
         FROM:
           DC COMMENTS:
         TO:
           DC COMMENTS:
             DC'd by DHIN
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DATE: 11/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 186
USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account HUJlber FA1307223089     Location   FI4PVA             Unit Hu.her     F001250247
Age/Sex         37/M             Rooa       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                               (Continued)


HYDR2DI55 - HYDROmorphone HCl 2 MG/ML DISP.SYRIN

  Dose        2 MG (1 ML)
  Adain Route .ROUTE
  Start Date 10/24/16-1348        Stop Date 10/24/16 1349          DC Date 10/24/16-1349
  Ordering Doctor     DOCTOR.PYXIS OVERRIDE
  Total Dispensed     0           Total Costs $0.00                 Total Charges $0.00
  Rx Nuaber   001892799

  Discontinue Co. .ents DC'd by DHIN


  History
   10/24/16 1349 - DISCONTINUE                 by STK MED      Eff: 10/24/16 134 9
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
   10/24/16 1349 - OV INV PHA                  by DHIN
   10/24/16 1747 - LINKDM                      by SYSTEM
      Provider Order Rx #: U001143811
   10/24/16 1749 - EVALDM                      by FIANDERC
      Provider order 001893023 identified as linked with this dispensing machine order.

FENT0.0528 - fentaNYL CITRATE/PF 250 MCG/5 ML INJECTION

  Dose         250 MCG (5 ML)
  Adm.in Route .ROUTE
  Start Date 10/24/16-1411         Stop Date 10/24/16 1412         DC Date 10/24/16-1412
  Ordering Doctor      DOCTOR.PYXIS OVERRIDE
  Total Dispensed      1           Total Costs $1.32                Total Charges $11.00
  Rx Number    001892813

  Discontinue Comments DC'd by DHIN


  History
   10/24/16 1413 - DISCONTINUE                    by STK MED         Ef f:   10/24/16 1412
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
   10/24/16 1413 - OV INV PHA                     by DHIN
            Case 2:18-cv-00924-PD      Document 15-6    Filed 05/03/18     Page 46 of 59

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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Number FA1307223089      Location   FI4PVA             Unit HW11.ber   F001250247
Age/Sex        37/M              Roo•       411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)


MIDA1VIA13 - Midazolam HCl/Pf 2 MG/2 ML INJECTION

  Dose        2 MG (2 Ml)
  Ad.in Route .ROUTE
  Start Date 10/24/16-1512        Stop Date 10/24/16 1513       DC Date 10/24/16-1513
  Ordering Doctor     DOCTOR.PYXIS OVERRIDE
  Total Dispensed     1           Total Costs $0.29              Total Charges $2.50
  Rx Nu:aber  001892869

  Discontinue CoaJRents DC'd by ECROSBY


  History
   10/24/16 1512 - OV INV PHA                     by ECROSBY
   10/24/16 1512 - DISCONTINUE                    by STK MED      Eff: 10/24/16 1513
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by ECROSBY

ACET650S10 - Acetaminophen 650 MG SUPP.RECT

  Dose          650 MG (1 SUPP.HECT)
  Ad.D.in Route RC
  Start Date 10/24/16-1601          Stop Date 10/24/16 1602     DC Date 10/24/16-1602
  Ordering Doctor       DOCTOR.PYXIS OVERRIDE
  Total Dispensed       1           Total Costs $0.18            Total Charges $1.20
  Rx Nuiaber    001892938

  Discontinue ColRlllents DC'd by ECROSBY


  History
   10/24/16 1601 - DISCONTINUE                    by STK MED      Ef f:   10/24/16 160 2
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by ECROSBY
   10/24/16 1601 - OV INV PHA                     by ECROSBY
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USER: MT                        Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account HUJlher FAi3o7223o89   ·   :i~i1~n   FI4PVA             Unit Nwaber     F001250247
Age/Sex         37/M               Rooa      411                Registered Date 10/07/16
Status          DIS IN             Bed       02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                          (Continued)


FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose         50 MCG (1 ML)
  Dose Instruction     IVP FOR CRITICAL CARE UNITS AND 5-SOUTH ONLY
  Achain Route IV
  Frequency    Q2H (PRN) PAR= PRN REASON: CPOT > 2 / RASS 0 TO -1
  Start Date 10/24/16-1645         Stop Date None             DC Date 10/24/16-1648
  Ordering Doctor      IRIARTE OPORTO, BLANCA E MD
  Total Dispensed      1           Total Costs S0.27           Total Charges $2.25
  Rx Nuaber    001892964



  History
   10/24/16 1641 - POM ORDER                   by COIRIATB
   10/24/16 1643 - EDIT                        by COIRIATB
      EDIT DOCTOR: IRIARTE OPORTO,BLANCA E MD
      EDIT SOURCE: Provider Source
      FROM:
         PRN REASON: CPOT > 3 / RASS 0 TO -1
      TO:
        PRN REASON: CPOT > 2 / RASS 0 TO -1
   10/24/16 1643 - MERGEDM                     by SYSTEM
      Items Dispensed: on: 10/24/16-1642 Dispensing Machine: 5PAV User: HBEURKET
   10/24/16 1647 - VERIFIED                    by FIANDERC
   10/24/16 1647 - DEBIT                       by HBEURKET
         ITEMS: 1     DOSES: 1
   10/24/16 1647 - EVALDM                      by FIANDERC
      Dispensing machine transaction merged
         Items Dispensed: on: 10/24/16-1642 Dispensing Machine: 5PAV User: HBEURKET
   10/24/16 1649 - DISCONTINUE                 by COGEVORD     Eff: 10/24/16 1648
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      EDIT SOURCE: Provider Source
   10/24/16 1649 - POM COPY AND EDIT           by COGEVORD
      TO: Rx #U001143768
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DATE: ll/03/16 @ 0002                Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 189
USER: MT                              Medication Administration Summary

Patient                                                Responsible Doctor LITTMAN,MARIO, MD
Account HUllber · :FAi3oi2i:Hi89 ··········· i~iion   FI4PVA             Unit HWllber    F001250247
Age/Sex           37/M                       ROOI     411                Registered Date 10/07/16
Status            DIS IN                     Bed      02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                        F.A.1307223089                          (Continued)

FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose         75 MCG (1.5 ML)
  Dose Instruction     !VP FOR CRITICAL CARE UNITS AND 5-SOUTH ONLY
  AdJain Route IV
  Frequency    Q2H (PRN) PAR= PRN REASON: CPOT > 2 / RASS 0 TO -1
  Start Date 10/24/16-1845         Stop Date 10/24/16 1845    DC Date 10/24/16-1845
  Ordering Doctor      GEVORGYAN,DAVID MD
  Total Dispensed      0           Total Costs $               Total Charges $
  Rx Nuaber    001892971



  History
   10/24/16 1649 - POM COPY AND EDIT           by COGEVORD
      FROM: Rx #001892964
   10/24/16 1650 - VERIFIED                    by FIANDERC
   10/24/16 1747 - DISCONTINUE                 by COGEVORD     Eff: 10/24/16 184 5
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      EDIT SOURCE: Provider Source
      FROM:
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
   10/24/16 1747 - EDIT                        by COGEVORD
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/24/16-1845   STOP: None   SOFT STOP:
       TO:
          START: 10/24/16-1845          STOP: 10/24/16-1845      SOFT STOP:
Adm.in Date    Tiae ..,U=s=e=r_ _ _ Given Bag Reason Code                Items          Charge
10/24/16       1654 FIBEURKH          Y                                       1
                        Dose: 75 MCG


  Adm.in Totals                                                               1
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USER: MT                          Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN,MARIO, MD
Account Nwaber FA1307223089           Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M                   Rooa       411                Registered Date 10/07/16
Status         DIS IN                 Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                          (Continued)


HYDRlDISZ - HYDROmorphone HCL (DILAUDID) 1 MG/ML

  Dose          1 MG   (1 ML)
  Adm.in Route IV
  Frequency   Q3H (PRN) PAR= PRN REASON: pain 4-6
  Start Date 10/24/16-1745        Stop Date None                     DC Date 10/28/16-1554
  Ordering Doctor     GEVORGYAN,DAVID MD
  Total Dispensed     5           Total Costs $5.55                   Total Charges $46.25
  Rx Nuaber   001893022



  History
   10/24/16 1747 - POM ORDER                           by COGEVORD
   10/24/16 1747 - EDIT                                by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/24/16 1747 - VERIFIED                            by FIANDERC
   10/25/16 1307 - DEBIT                               by DGILMAN
        ITEMS: 1     DOSES: 1
   10/26/16 1402 - DEBIT                               by ADALISAY
        ITEMS: 1     DOSES: 1
   10/27/16 1600 - DEBIT                               by JSTASKY
        ITEMS: 1     DOSES: 1
   10/28/16 0101 - DEBIT                               by AGARDOSE
        ITEMS: 1     DOSES: 1
   10/28/16 0531 - DEBIT                               by AGARDOSE
        ITEMS: 1     DOSES: 1
   10/28/16 1555 - DISCONTINUE                         by COJADHAG     Eff: 10/28/16 1554
      EDIT DOCTOR: JADHAV,GAURAV P MD
      EDIT SOURCE: Provider Source
   10/28/16 1555 - POM COPY AND EDIT                   by COJADHAG
      TO: Rx #U001146149

Adm.in Date   Ti11.e User        Given Bag Reason Code               Items         Charge
10/25/16      1308 FIGILMAD        y                                     1
                      Dose: 1 MG
10/26/16      1406 FIGILMAD       y                                      1
                    Dose: 1 MG
10/27/16      1602 FISTASKJ       y                                      1
                    Dose: 1 MG

10/28/16      0101 FIGARDOA       N
                    Dose: 1 MG
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USER: MT                         Medication Administration Summary

Patient                                             Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber. FAi:fo7223089   .       Location   FI4PVA             Unit Huaber     F001250247
Age/Sex         37/M                    Roa•       411                Registered Date 10/07/16
Status          DIS IN                  Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                       FA1307223089                          (Continued)

10/28/16     0531 FIGARDOA          y                                      1
                   Dose: 1 MG


  Adm.in Totals                                                            4
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USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account NUJlber FA1307223089     Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex         37/M             Rooa       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


HYDR2DIS5 - HYDROmorphone HCl 2 MG/ML DISP.SYRIN

  Dose        1.5 MG (0.75 ML)
  Adain Route IV
  Frequency   Q3H (PRN) PAR= PRN REASON: pain 7-10
  Start Date 10/24/16-1745        Stop Date None                DC Date 10/28/16-1554
  Ordering Doctor     GEVORGYAN,DAVID MD
  Total Dispensed     13          Total Costs $14.95             Total Charges $123.50
  Rx Null.her 001893023



  History
   10/24/16 1747 - LINKDM                      by SYSTEM
      Dispensing Machine Order Rx #: 001892799
   10/24/16 1747 - POM ORDER                   by COGEVORD
   10/24/16 1748 - EDIT                        by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/24/16 1748 - EDIT                        by FIANDERC
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      FROM:
        SIG: Q3
      TO:
        SIG: Q3H
        DUPLICATE COMMENT: RPH
   10/24/16 1748 - VERIFIED                    by FIANDERC
   10/24/16 1749 - EVALDM                      by FIANDERC
      Dispensing machine order 001892799 identified as linked with this provider order.
   10/24/16 1839 - DEBIT                       by SYOUNG
        ITEMS: 1      DOSES: 1
   10/24/16 2244 - DEBIT                       by SYOUNG
        ITEMS: 1      DOSES: 1
   10/25/16 0139 - DEBIT                       by CBURKE
        ITEMS: 1      DOSES: 1
   10/25/16 0510 - DEBIT                       by CBURKE
        ITEMS: 1      DOSES: 1
   10/25/16 0946 - DEBIT                       by DGILMAN
        ITEMS: 1      DOSES: 1
   10/25/16 1613 - DEBIT                       by SYOUNG
        ITEMS: 1      DOSES: 1
   10/25/16 1901 - DEBIT                       by SYOUNG
        ITEMS: 1      DOSES: 1
   10/26/16 0110 - DEBIT                       by VDAMATO
        ITEMS: 1      DOSES: 1
   10/26/16 0751 - DEBIT                       by DGILM.AN
        ITEMS: 1      DOSES: 1
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USER: MT                        Medication Administration Summary

Patient                                          Resp:>nsible Doctor LITTMAN,MARIO, MD
Account Hu.her FA1307223089          Location   FI4PVA              Unit Humber     F001250247
Age/Sex        37/M                  Rooa       411                 Registered Date 10/07/16
Status         DIS IN                Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                            (Continued)

   10/26/16 1836 - DEBIT                              by TNOGA
        ITEMS: 1     DOSES: 1
   10/26/16 2119 - DEBIT                              by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/27/16 0133 - DEBIT                              by VDAMATO
        ITEMS: 1     DOSES: 1
   10/28/16 1555 - DISCONTINUE                        by COJADHAG      Eff: 10/28/16 1554
      EDIT DOCTOR: JADHAV,GAURAV P MD
      EDIT SOURCE: Provider Source
   10/28/16 1555 - POM COPY AND EDIT                  by COJADHAG
      TO: Rx #U001146148

Ad.in Date   Ti11.e User       Given Bag Reason Cocle                Items          Cha;rg:e
10/24/16     1840 FIYOUNGS        y                                      1
                     Dose: 1.5 MG

10/24/16     2246 FI YOUNGS      y                                        1
                   Dose: 1. 5 MG
10/25/16     0149 FIBURI<EC     y                                         1
                   Dose: 1.5 MG

10/25/16     0518 FIBURKEC      y                                         1
                   Dose: 1.5 MG

10/25/16     0947 FIGILMAD       y                                        1
                   Dose: 1. 5 MG

10/25/16     1643 FI YOUNGS     y                                         1
                   Dose: 1.5 MG
10/25/16     1902 FI YOUNGS      y                                        1
                   Dose: 1. 5 MG
10/26/16     0114 FIDAMATV      y                                         1
                   Dose: 1.5 MG
10/26/16     0801 FIGILMAD      y                                         1
                   Dose: 1.5 MG
10/26/16     1848 FINOGAT       y                                         1
                   Dose: 1.5 MG
10/26/16     2145 FIMCGILM      y                                         1
                   Dose: 1.5 MG

10/27/16     0137 FIDAMATV      y                                         1
                   Dose: 1.5 MG
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USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089     Location   FI4PVA             Unit Huaber     F001250247
Age/Sex        37/M             Rcxm       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                          (Continued)

  Acmin Totals                                                    12


DOCU100C33 - Docusate Sodium 100 MG CAPSULE

  Dose        100 MG (1 CAPSULE)
  Admin Route PO
  Start Date 10/25/16-0900        Stop Date None               DC Date 10/25/16-1029
  Ordering Doctor     PATEL,SANSKRUTI MD
  Total Dispensed     0           Total Costs S                 Total Charges S
  Rx Nuaber   001893362



  History
   10/25/16 0526 - POM ORDER                     by COPATESA
   10/25/16 0536 - EDIT                          by FISACKSM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/25/16 0536 - VERIFIED                      by FISACKSM
   10/25/16 1032 - DISCONTINUE                   by COTHUMMS     Eff: 10/25/16 102 9
      EDIT DOCTOR: THUMMALAPENTA,SIRISHA MD
      EDIT SOURCE: Provider Source
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USER: MT                       Medication Administration Summary

Patient                                        Resp:msible Doctor LITTMAN,MARIO, MD
Account Hu.her FA1307223089       Location    FI4PVA             Unit Number     F001250247
Age/Sex        37/M               Room        411                Registered Date 10/07/16
Status         DIS IN             Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


ALTE2VIA2 - ALTEPLASE 2 MG VIAL

  Dose        2 MG (1 VIAL)
  Ad.in Route IV
  Start Date 10/25/16-0800        Stop Date 10/25/16 0801         DC Date 10/25/16-0801
  Ordering Doctor     IRIARTE OPORTO, BLANCA E MD
  Total Dispensed     0           Total Costs $                    Total Charges $
  Rx Number   001893500

  Discontinue Collll.ents Reached Stop Date


  History
   10/25/16 0755 - POM ORDER                       by COIRIATB
   10/25/16 0812 - VERIFIED                        by FIJASINT
   10/25/16 0812 - DISCONTINUE                     by PHABKGJOB     Eff: 10/25/16 0801
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adm.in Date TiJR.e User      Given Bag Reason Cc:xle              I tens        Charge
10/25/16    0800 FINOGAT       N       OTHER
(10/25/16) (0800) Dose: 0 MG


  AdJR.in Totals
            Case 2:18-cv-00924-PD     Document 15-6     Filed 05/03/18     Page 55 of 59

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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Huaber FA1307223089      Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M              Rooa       411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                             (Continued)


50DI150R2 - Sodium Polystyrene Sulfonate 15 GM/60 ML ORAL.SUSP

  Dose        30 GM (120 ML)
  Adain Route PO
  Start Date 10/25/16-1030       Stop Date 10/25/16 1031         DC Date 10/25/16-1031
  Ordering Doctor     THUMMALAPENTA,SIRISHA MD
  Total Dispensed     2          Total Costs $12.19               Total Charges $18.20
  Rx Nuaber   001893662

  Discontinue Coam.ents Reached Stop Date


  History
   10/25/16 1028 - POM ORDER                      by COTHUMMS
   10/25/16 1031 - VERIFIED                       by FIREALID
   10/25/16 1031 - DISCONTINUE                    by PHABKGJOB     Eff: 10/25/16 1031
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/25/16 1107 - DEBIT                          by DGILMAN
        ITEMS: 2     DOSES: 1

Admin Date Tiae User        Given Bag Reason Code                I tells        Charge
10/25/16    1108 FIGILMAD     Y                                       2           0. 0 0
(10/25/16) (1030) Dose: 30 GM


  Adain Totals                                                        2                  0
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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Hu.her FA1307223089      Location   FI4PVA             Unit HWllber     F001250247
Age/Sex        37/M              RCXJa      411                Registered. Date 10/07/16
Status         DIS IN            Bed        02                 Discharged. Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued.)


PHENlODIS - Phenylephrine HCl 1 MG/10 ML DISP.SYRIN

  Dose        1 MG (10 ML)
  Ad.in Route .ROUTE
  Start Date 10/25/16-1053          Stop Date 10/25/16 1054     DC Date 10/25/16-1054
  Ordering Doctor
  Total Dispensed.    1             Total Costs $6.00            Total Charges $49.50
  Rx Nullher  001893686

  Discontinue Collllents DC'd by DHIN


  History
   10/25/16 1054 - DISCONTINUE                    by STK MED      Eff: 10/25/16 105 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
   10/25/16 1054 - OV INV PHA                     by DHIN

SODI150R2 - Sodium Polystyrene Sulfonate 15 GM/60 ML ORAL.SUSP

 Dose         30 GM (120 ML)
 Adm.in Route PO
 Start Date 10/25/16-1230         Stop Date 10/25/16 1231       DC Date 10/25/16-1230
 Ordering Doctor      GEVORGYAN,DAVID MD
 Total Dispensed.     0           Total Costs $                  Total Charges $
 Rx Nuaber    001893819



  History
   10/25/16 1220 - POM ORDER                      by COGEVORD
   10/25/16 1223 - DISCONTINUE                    by COGEVORD     Eff: 10/25/16 123 0
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      EDIT SOURCE: Provider Source
   10/25/16 1223 - VERIFIED                       by SYSTEM
      Verified in order to DC
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USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account Nwaber FA1307223089         Location   FI4PVA             Unit NW1.ber    F001250247
Age/Sex        37/M                 Rooa       411                Registered Date 10/07/16
Status         DIS IN               Bed        02                 Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)

FOLI1TAB35 - Folic Acid 1 MG TABLET

  Dose         1 MG (1 TABLET)
  Achlin Route PO
  Start Date 10/26/16-0900         Stop Date None                  DC Date 10/31/16-1519
  Ordering Doctor      MANN,RUPINDER K MD
  Total Dispensed      6           Total Costs $0.30                Total Charges $6.30
  Rx Nuaber    001894441



  History
   10/26/16 0715 - POM COPY AND EDIT                 by COMANNR
      FROM: Rx #001877055
   10/26/16 0717 - EDIT                              by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/26/16 0717 - VERIFIED                          by FIANDERC
   10/26/16 0952 - DEBIT                             by DGILMAN
        ITEMS: 1     DOSES: 1
   10/27/16 0818 - DEBIT                             by MMAXWELL
        ITEMS: 1     DOSES: 1
   10/28/16 0827 - DEBIT                             by NC ARTER
        ITEMS: 1     DOSES: 1
   10/29/16 0840 - DEBIT                            by MHALLAMY
        ITEMS: 1     DOSES: 1
   10/30/16 0731 - DEBIT                            by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/31/16 0845 - DEBIT                            by KM OSLEY
        ITEMS: 1     DOSES: 1
   10/31/16 1521 - DISCONTINUE                      by COMAQSOT      Eff: 10/31/16 1519
      EDIT DOCTOR: MAQSOOD,TAHIR MD
      EDIT SOURCE: Provider Source
Adm.in Date Ti•.e User       Given Bag Reason Code                 Iten.s         Cha;i;:g:e
10/26/16    1002 FIGILMAD      y                                        1           0. 0 0
(10/26/16) (0900) Dose: 1 MG
10/27/16    0826 FIMAXWEM       y                                       1            0. 0 0
(10/27/16) (0900) Dose: 1 MG
10/28/16    0831 FICARTEN       y                                      1             0.00
(10/28/16) (0900) Dose: 1 MG

10/29/16    0901 FIHALLAM       y                                      1             0. 0 0
(10/29/16) (0900) Dose: 1 MG
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DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 199
USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account HUllber FA1307223089     Location   FI4PVA             Unit HWllber    F001250247
Age/Sex         37/M             Rooa       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                          (Continued)

10/30/16    0825 FIBLEILA       Y                                     1           0. 0 0
(10/30/16) (0900) Dose: 1 MG

10/31/16    0856 FIMOSLE~       Y                                     1           0.00
(10/31/16) (0900) Dose: 1 MG


  Adiain Totals                                                       6                 0
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USER: MT                         Medication Administration Summary

Patient                                         Resp:>nsible Doctor LITTMAN.MARIO, MD
Account HUlllber FA1307223089      Location    FI4PVA              Unit Hu.her     F001250247
Age/Sex          37/M              RCX>ll      411                 Registered Date 10/07/16
Status           DIS IN            Bed         02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)


THIA100T4 - Thiamine HCl 100 MG TABLET

  Dose         100 MG (1 TABLET)
  Acbain Route PO
  Start Date 10/26/16-0900         Stop Date None                   DC Date ll/Ol/16-2054
  Ordering Doctor      MANN,RUPINDER K MD
  Total Dispensed      7           Total Costs S0.07                 Total Charges $7.35
  Rx Number    001894442

  Discontinue Co. .ents DC'd by Discharge


  History
   10/26/16 0715 - POM COPY AND EDIT                 by COMANNR
      FROM: Rx #001877056
   10/26/16 0717 - EDIT                              by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/26/16 0717 - VERIFIED                          by FIANDERC
   10/26/16 0951 - DEBIT                             by DGILMAN
         ITEMS: 1     DOSES: 1
   10/27/16 0816 - DEBIT                             by MMAXWELL
         ITEMS: 1     DOSES: 1
   10/28/16 0828 - DEBIT                             by NC ARTER
         ITEMS: 1     DOSES: 1
   10/29/16 0840 - DEBIT                             by MHALLAMY
         ITEMS: 1     DOSES: 1
   10/30/16 0732 - DEBIT                             by ABLE ILER
         ITEMS: 1     DOSES: 1
   10/31/16 0845 - DEBIT                             by KM OSLEY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 1025 - DEBIT                             by MHALLAMY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                       by DISCHARGE     Eff: lV'Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           DC'd by Discharge

Adil.in Date Ti:ae User     Given Bag Reason Code                   Iten.s        Charge
10/26/16     1001 FIGILMAD     Y                                        1           0.00
(10/26/16) (0900) Dose: 100 MG

10/27/16    0826 FIMAXWEM      Y                                        1            0. 0 0
(10/27/16) (0900) Dose: 100 MG
